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               EXHIBIT A
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1             IN THE UNITED STATES DISTRICT COURT
2              FOR THE WESTERN DISTRICT OF TEXAS
3                        WACO DIVISION
4    _____________________________
                                   )
5    SONOS, INC.,                  )
                                   )
6               Plaintiff,         )Civil Action No.
                                   )6:20-cv-00881-ADA
7         vs.                      )
                                   )
8    GOOGLE, LLC,                  )
                                   )
9               Defendant.         )
     _____________________________)
10
11
      VIDEOCONFERENCE DEPOSITION OF CHRISTOS KYRIAKAKIS
12
                          Friday, June 11, 2021
13
                                    Volume I
14
15
16
17
18
19
20
21
22   Reported by:
     KATHLEEN E. BARNEY
23   CSR No. 5698
24   Job No. 4626386
25   PAGES 1 - 202

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1                 IN THE UNITED STATES DISTRICT COURT
2                  FOR THE WESTERN DISTRICT OF TEXAS
3                             WACO DIVISION
4
     _____________________________
5                                              )
     SONOS, INC.,                              )
6                                              )
                    Plaintiff,                 )
7                                              )Civil Action No.
            vs.                                )6:20-cv-00881-ADA
8                                              )
     GOOGLE, LLC,                              )
9                                              )
                    Defendant.                 )
10   _____________________________)
11
12            Videoconference deposition of CHRISTOS
13   KYRIAKAKIS, Volume I, taken on behalf of Plaintiff,
14   beginning at 9:02 a.m. and ending at 3:10 p.m. on
15   Friday, June 11, 2021, before KATHLEEN E. BARNEY,
16   Certified Shorthand Reporter No. 5698.
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25

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1    APPEARANCES:
2
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23   Videographer:
24           KIMBERLEE DECKER
25

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1                       Friday, June 11, 2021

2                             9:02 a.m.

3

4            THE VIDEOGRAPHER:     Good morning.          We are on

5    the record at 9:02 a.m. on June 11, 2021.                        09:02:30

6            All participants are appearing remotely.

7    Audio and video recording will continue to take

8    place unless all parties agree to go off the record.

9            This is Media Unit 1 of the recorded

10   deposition of Christos Kyriakakis taken by counsel               09:02:49

11   for the plaintiff in the matter of Sonos, Inc.,

12   versus Google, LLC, filed in the U.S. District

13   Court, Western District of Texas, Waco Division,

14   case number 6:20-CV-00881-ADA.

15           My name is Kimberlee Decker from Veritext                09:03:12

16   Legal Solutions.      I'm the videographer.          The court

17   reporter is Kathy Barney.      I'm not related to any

18   party in this action, nor am I financially

19   interested in the outcome.

20           Counsel and all present will now state their             09:03:26

21   appearances and affiliations for the record.              If

22   there are any objections to proceeding, please state

23   them at the time of your appearance, beginning with

24   the noticing attorney.

25           MR. PAK:     This is Jae Pak, counsel for Sonos,         09:03:33

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1    from Lee Sullivan Shea & Smith.

2            MR. KAPLAN:    This is Marc Kaplan from Quinn

3    Emanuel Urquhart & Sullivan for Google and the

4    witness.

5            MR. LEE:    Good morning.     This is George Lee        09:03:52

6    for plaintiff Sonos.      I'm also with the firm of Lee

7    Sullivan Shea & Smith in Chicago.

8            THE VIDEOGRAPHER:     Thank you.       Will the court

9    reporter please swear in the witness.

10

11                      CHRISTOS KYRIAKAKIS,

12   having been administered an oath, was examined and

13   testified as follows:

14

15                          EXAMINATION

16   BY MR. PAK:

17      Q    Dr. Kyriakakis, could you please state and

18   spell your name for the record.

19      A    Sure.   First name is -- legal first name is

20   Christos, but I go by Chris, last name is                       09:04:34

21   K-Y-R-I-A-K-A-K-I-S.

22      Q    Is it okay if I call you Dr. K throughout

23   this deposition?

24      A    Yes, please do.

25      Q    Have you been deposed before?                           09:04:48

                                                                     Page 8

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1        A   I have.

2        Q   How many times have you been deposed?             Just a

3    ballpark is fine.

4        A   Two other times.

5        Q   How many times have you been deposed as an                 09:04:57

6    expert witness?      Were you an expert witness in both

7    of those cases?

8        A   Yes, I was.

9        Q   And these are patent cases, correct?

10       A   Correct.                                                   09:05:16

11       Q   When was the last time you were deposed?

12       A   It was -- I think it was 2018.          I don't have

13   the exact date, but I think it was 2018.

14       Q   Sure.     Do you remember what case that was?

15       A   It was -- so it was two in that same year.                 09:05:34

16   So one of them was -- I was working on behalf of

17   Apple, which was an ITC case.        Actually, initially

18   the case involved Apple and Samsung as

19   co-defendants.      So that was one case.       And the other

20   case was for Apple, a separate case.                               09:06:05

21       Q   Okay.     And so we're on the same page, I want

22   to run through some general guidelines.              So just

23   bear with me here.

24           I'll ask you questions and you must give

25   truthful answers.      Your counsel may object to                  09:06:20

                                                                        Page 9

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1    questions, but unless your counsel instructs you not

2    to answer, you still must answer despite the

3    objection.

4            Do you understand?

5        A   I do.                                                     09:06:30

6        Q   And if you don't understand a question or

7    need clarification, please ask.         Otherwise I'll

8    assume that you understand the question.

9            We'll plan to take a break every hour or so.

10   If you need a break outside of that schedule, just                09:06:38

11   let me know and I'll accommodate the request.              The

12   only thing I ask is, you know, to finish any pending

13   question before we go on break.

14           And the court reporter will be transcribing

15   our discussion today, so I need you to give verbal                09:06:50

16   answers as opposed to head nods or the like.

17           Understood?

18       A   Yes.

19       Q   Okay.   I'll slow down here now.

20           When did you begin working on this case                   09:07:02

21   between Sonos and Google?

22       A   Oh, I don't know the exact date.             It was a

23   few months ago.

24       Q   Okay.   So it was sometime this year?

25       A   Yes.                                                      09:07:16

                                                                      Page 10

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1        Q   Did you sign an engagement letter?

2        A   I did.

3        Q   And when did you sign the engagement letter,

4    do you remember?

5        A   Shortly after I talked to the attorneys and I           09:07:29

6    was told they wanted to retain me.          I don't have the

7    exact date.      I think it was a few months ago.

8        Q   Few months as in maybe April of this year or

9    sometime before?

10       A   I'm pretty sure it was before.                          09:07:45

11       Q   Okay.

12       A   I don't have the exact date.

13       Q   No, I understand.

14           Who is that engagement between?          Is that

15   between you and Google or Google's counsel or                   09:07:57

16   someone else?

17       A   It is -- I believe it's between me and

18   Google's counsel.

19       Q   And Google's counsel being Quinn Emanuel; is

20   that correct?

21       A   Correct.

22       Q   Have you worked with Quinn Emanuel before?

23       A   I have.

24       Q   How many times have you worked with Quinn

25   Emanuel?                                                        09:08:18

                                                                    Page 11

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1        A     Probably two other times.       It was different

2    attorneys.      Different matters.

3        Q     What was the nature of your engagement with

4    Quinn Emanuel?

5              MR. KAPLAN:    Object to form.                         09:08:33

6              THE WITNESS:    It was similar.       They were

7    patent cases and I was an expert witness for their

8    client.

9    BY MR. PAK:

10       Q     Do you recall what cases?                              09:08:43

11       A     I believe one was Blitzsafe versus Daimler

12   Benz, Mercedes.      And the other one escapes me

13   because I remember the cases, but not necessarily

14   all the affiliations.

15             THE VIDEOGRAPHER:    You're speaking a little          09:09:26

16   low.

17             THE WITNESS:    Interesting.     Okay.      Is that

18   better?

19   BY MR. PAK:

20       Q     Have you provided expert opinions on behalf            09:09:44

21   of Google before?

22       A     I have not.

23       Q     Have you offered opinions with respect to any

24   Google products?

25       A     No.                                                    09:09:55

                                                                     Page 12

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1        Q     Have you offered opinions with respect to any

2    mobile apps that can be installed on your phone or

3    tablet?

4        A     No.

5        Q     Have you used any Google audio products                    09:10:07

6    before?

7        A     I have -- yes, I have used them.            I don't own

8    them, but I have used them.

9        Q     What products have you used?

10       A     It was a Google speaker.                                   09:10:22

11       Q     Do you know what speaker it was?

12       A     I think it's called Google Home.

13       Q     Did you use any specific feature of Google

14   Home?

15       A     I was interested in evaluating the voice                   09:10:45

16   performance, the voice recognition performance,

17   especially how it performs in noisy environments.

18       Q     So you've experimented with Google Assistant;

19   is that correct?

20             MR. KAPLAN:    Object to form.                             09:11:12

21             THE WITNESS:    In the context of that product,

22   yes.

23   BY MR. PAK:

24       Q     Okay.   Have you used the Google Home app

25   before?                                                              09:11:24

                                                                         Page 13

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1        A     No.

2        Q     So how did you set up the Google Home

3    product?

4        A     That's a good question.     It's been a while.

5              Okay.   I guess I used it to set it up.    I        09:11:40

6    thought you were asking if I used it to interact

7    with it.

8        Q     Okay.   Have you used any Google Pixel device

9    before?

10       A     No.                                                 09:11:53

11       Q     Have you used any Sonos products?

12       A     Yes.

13       Q     What Sonos products have you used before?

14       A     Sonos Play:1.   And Sonos Subwoofer.

15       Q     Have you used any other Sonos products              09:12:17

16   before?

17       A     No.

18       Q     Do you own a Sonos Play:1 or Sonos Sub?

19       A     Yes, I do.

20       Q     When did you first purchase the Play:1 and          09:12:33

21   the Sonos Sub?

22       A     Two years ago approximately.

23       Q     Why did you purchase the Play:1 and Sonos

24   Sub?

25       A     As part of my work and research, I have, I          09:12:59

                                                                 Page 14

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1    would say, an unusually large collection of speaker

2    products and I've purchased them to evaluate their

3    acoustic performance, compare them to others, and so

4    on.

5          Q   Do you own more than one Play:1 and more than          09:13:16

6    one Sonos Sub?

7          A   I have three Play:1s and one Sonos Sub.

8          Q   Have you ever stereo-paired two Play:1s

9    together?

10         A   Yes.     Yes, I have.                                  09:13:47

11         Q   And have you compared that to other -- when

12   you say others, you're talking about other audio

13   products?

14         A   I guess what do you mean by "compared"?

15         Q   Yeah.     So you said you evaluated the acoustic       09:14:09

16   performance of the Sonos Play:1 products with

17   others, right?

18         A   Yes.

19         Q   And who are these others that you're

20   referring to here?                                               09:14:23

21             MR. KAPLAN:     Object to form.

22             THE WITNESS:     There's a number of them.     Some

23   are home speakers.        PSB.    Bose.   Amazon products.

24   Paradigm is a high-end company that makes wireless

25   speakers.        A number of others.                             09:14:51

                                                                     Page 15

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1              I mean, that's kind of what I do on a regular

2    basis just to understand what is going on and who is

3    doing what acoustically in rooms.

4    BY MR. PAK:

5        Q     So have you evaluated these products for              09:15:04

6    other reasons?      Other than acoustic performance,

7    have you evaluated these products for some other

8    reason?

9        A     No.

10       Q     And just for curiosity, I guess, which                09:15:15

11   product has the best acoustic performance, in your

12   opinion?

13       A     I'm going to get in big trouble.           I'm not

14   going to answer that.      A lot of them it's an

15   objective measurement, but a lot of it is very                  09:15:35

16   subjective.      So I'm probably going to stay away from

17   that one.

18       Q     That's fair.

19             I want to talk about your professional

20   experience.      Do you have any computer programming           09:15:46

21   experience?

22       A     Yes.

23       Q     Do you remember the last time you coded or

24   programmed something?

25       A     Two days ago.                                         09:15:59

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1        Q     Got it.

2              Have you taught any computer science courses

3    before?

4        A     No.

5        Q     Have you taught any network courses before?         09:16:09

6        A     Network specific, no.

7              I should mention I have computer science

8    students in my courses, but they're not specific

9    under the computer science department.

10       Q     Got it.   But you haven't taught any computer       09:16:24

11   science courses.      Did you say you haven't taught any

12   network courses; is that correct?

13       A     That's correct.

14       Q     Do you have any networking experience?

15       A     Yes.   Quite a bit, especially with streaming       09:16:41

16   media.     My research group was one of the first to

17   implement multichannel audio streaming across the

18   country over Internet2, and for that we had a large

19   group that was working on various aspects of

20   networking, including peer to peer and other aspects          09:17:05

21   of it.     So, yeah, quite a bit of experience.

22       Q     What is Internet2?

23       A     Internet2 is what the internet was when it

24   first started, which is a network that was closed

25   off to the public and only open to academic and               09:17:24

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1    research institutions.      It's a much higher bandwidth

2    network that is basically used for experimentation

3    for next-generation applications on the internet.

4        Q   So do you have any experience in designing or

5    implementing a network?                                         09:17:48

6        A   My experience is in coding, testing

7    performance of networks, not necessarily designing

8    networks from scratch.      Software that goes on

9    networks, though, yes.

10       Q   But you never designed or architected a                 09:18:11

11   network, right?    Is that right?

12           MR. KAPLAN:     Object to form.

13           THE WITNESS:     Well, I guess I'm --

14   architected -- I was part of the team.           I led the

15   team that architected a multichannel audio streaming            09:18:34

16   solution, Lossless, over a network.          And so I didn't

17   build the network from scratch.         It was an existing

18   network.   We just built the software to run all of

19   that.

20   BY MR. PAK:                                                     09:19:01

21       Q   Got it.

22           And you're the founder and CTO of a company

23   called Audyssey Laboratories; is that correct?

24       A   That's right.

25       Q   And I see the background.        Is that an             09:19:07

                                                                    Page 18

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1    Audyssey Laboratories product behind you?

2        A   The loud speaker, no.

3        Q   No?

4        A   No, it's not.     I have one, but it's not in

5    this room.                                                         09:19:21

6        Q   What products did you help design at

7    Audyssey?

8        A   So Audyssey was a spinout from my research

9    lab at USC with a couple of graduate students.             We

10   started in the audio technology licensing business,                09:19:36

11   and so the product there was technologies for

12   automatic measuring of acoustical problems in rooms

13   and solutions for fixing them.        And perhaps you've

14   seen the little microphone that comes with home

15   theater equipment.      You put it in your living room             09:20:01

16   or your car or IMAX theaters, for example.             There

17   are many places that have that.

18           So it started as a software solution that was

19   being licensed.    In the course of that company, we

20   also designed some loudspeaker products to showcase                09:20:23

21   the technologies so that we could be fully in

22   control of them.

23           And these were wireless speakers.            Three were

24   wireless and one was wired.       And so those were --

25   those were the physical products that found                        09:20:48

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1    themselves inside the stores like the Apple Store

2    and Best Buy.

3        Q   Do you know any Audyssey -- do you know the

4    product names of any of the Audyssey products?

5        A   The loudspeakers?                                         09:21:02

6        Q   Yes.    Any Audyssey product, really.

7        A   So the main Audyssey product was called

8    MultEQ, M-U-L-T-E-Q.        That was the name of the

9    umbrella of technologies that had to do with

10   acquiring in-room information, acoustical                         09:21:21

11   information, and correcting it.           And the logo is

12   still found on many receivers like Marantz and

13   Denon, D-E-N-O-N.

14           The speaker products had -- were named of

15   after interesting, hip neighborhoods.             That was the    09:21:51

16   marketing plan.        So Lower East Side, Market -- South

17   of Market.     Yeah.

18       Q   Are you familiar with the Audyssey Sub

19   Equalizer product?

20       A   I am, yes.                                                09:22:19

21       Q   What is a sub equalizer?

22       A   A sub equalizer -- so in the home theater

23   market, it is popular to have separate components

24   for audio systems.        So people will buy their

25   favorite loudspeakers, they will buy their favorite               09:22:39

                                                                      Page 20

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1    audio receiver amplifier.

2            And for people that already had invested

3    money in a product that didn't have Audyssey room

4    correction in it, we actually made two products.

5    One was called the Audyssey Equalizer, which allowed          09:22:51

6    you to insert it in the path, in the audio path, and

7    take advantage of the Audyssey technologies.

8            And the sub equalizer was basically the same

9    thing except it was only focused on room correction

10   of the subwoofer frequency range, the low                     09:23:15

11   frequencies.

12       Q   Got it.

13           And I want to introduce an exhibit here.

14   It's the Audyssey manual.      And I just uploaded it in

15   the exhibits folder and marked it as Exhibit 1.               09:23:28

16           (Exhibit 1 was marked for identification

17       electronically and is attached hereto.)

18   BY MR. PAK:

19       Q   Do you see that?

20       A   Not yet.     I'm refreshing the screen here.          09:23:34

21   I'm looking at another monitor, so --

22       Q   Sure.     I am too.

23           THE VIDEOGRAPHER:     You have to refresh the

24   browser each time.

25           MR. KAPLAN:     Chris, sometimes you can just         09:24:02

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1    hit the Marked Exhibits folder again and that will

2    do it.

3                THE WITNESS:   Oh, there it is.       Okay.   I got

4    it.       I'm opening it now.

5    BY MR. PAK:                                                        09:24:17

6          Q     Do you recognize this document?

7          A     Sorry, it hasn't opened yet.

8          Q     Sure.   Let me know.

9          A     Okay.   Yes, it's open now.

10               Yes, I recognize it.                                   09:24:26

11         Q     Okay.   And this is the Audyssey MultEQ Pro

12   User Guide, correct?

13         A     Correct, MultEQ Pro.      It was software that we

14   provided to home theater installers.             And this was

15   additional functionality than what a consumer could                09:24:45

16   do with the built-in software.           And we marketed it

17   as MultEQ Pro.

18         Q     I want to turn to PDF, page 14.        And there's

19   a connection diagram for the Audyssey Sub Equalizer.

20               Do you see that?                                       09:25:02

21         A     It's coming.   Page 14?

22         Q     PDF page 14.

23         A     Oh, PDF page 14.

24         Q     But it's page 10 of the manual.

25         A     Okay.                                                  09:25:26

                                                                       Page 22

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1        Q   Okay.    So you see the connection diagram for

2    the Audyssey --

3        A   Yes.

4        Q   Does that look like an accurate

5    representation of the Sub Equalizer?                          09:25:33

6            MR. KAPLAN:    Object to form.

7            THE WITNESS:    It's an accurate representation

8    of how we recommended the connection, yes.

9    BY MR. PAK:

10       Q   Was the Sub Equalizer designed to communicate         09:25:48

11   over Wi-Fi?

12       A   No.

13       Q   Was the Sub Equalizer designed to communicate

14   over Bluetooth?

15       A   No.                                                   09:25:58

16       Q   Was the Sub Equalizer designed to communicate

17   over Ethernet?

18       A   No.

19       Q   Was the Sub Equalizer designed to communicate

20   over a data network?                                          09:26:09

21       A   Well, it was designed to accept, process and

22   produce or transmit audio data.

23           So in the context of data -- audio being

24   data, which it is, I would say yes, it's connected

25   to two devices as shown here and it's passing audio           09:26:30

                                                                 Page 23

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1    data after processing it.

2        Q   Well, let me ask you this.        The Sub Equalizer

3    was not designed to communicate over Wi-Fi,

4    Bluetooth, or Ethernet.     How did it communicate over

5    a data network?                                                09:27:01

6            MR. KAPLAN:    Object to form.

7            THE WITNESS:    Well, those are not the only

8    types of networks.     Anything that carries data is a

9    data network.     So this is an audio data network.

10   BY MR. PAK:                                                    09:27:11

11       Q   You're saying these speakers -- how are these

12   speakers connected to the Sub Equalizer?

13       A   Through audio cables.

14       Q   What kind of -- sorry, I didn't mean to cut

15   you off.                                                       09:27:27

16       A   No, no.    It's fine.

17       Q   What audio cables do you use to connect, you

18   know, one of these speakers to a Sub Equalizer?

19       A   They're called line level cables or RCA

20   because of the type of connector, which is named as            09:27:46

21   an RCA connector.

22       Q   So if you have a speaker connected to, you

23   know, another device, you know, another device here

24   being a Sub Equalizer via RCA cables, are they

25   communicating over a data network?                             09:28:06

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1        A   In the most general definition of a data

2    network, audio certainly falls into that.            And I

3    would consider this a wired data network.            To put it

4    in the context of the discussion we're having today,

5    yes.                                                              09:28:27

6        Q   Okay.   So, I mean, any device that can carry

7    data to another device is a data network; is that

8    correct?

9            MR. KAPLAN:    Object to form.

10           THE WITNESS:    Any infrastructure that can               09:28:37

11   connect devices and carry data, yes.

12   BY MR. PAK:

13       Q   In general, do you have an understanding of

14   what a term of art is?

15       A   Yes.                                                      09:28:53

16           MR. KAPLAN:    Object to form.

17   BY MR. PAK:

18       Q   What is your understanding?

19       A   A term of art in my understanding is -- maybe

20   not the exact legal definition -- it's what a person              09:29:05

21   of skill would understand that to mean in the art,

22   in the field.

23       Q   Is the term "network" a term of art?

24           MR. KAPLAN:    Object to form.

25           THE WITNESS:    Yes.                                      09:29:25

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1    BY MR. PAK:

2        Q   Before you were engaged as an expert for this

3    matter, did you have an understanding of what

4    network means?

5        A   Yes.                                                  09:29:34

6        Q   What was that understanding?

7        A   Basically what I said a minute ago.          A

8    network is an infrastructure of devices and

9    interconnects that allows the flow of data between

10   them.   Or enables the flow of data between them.             09:29:54

11       Q   Okay.    So your definition of a network is the

12   same as a data network; is that correct?

13           MR. KAPLAN:    Object to form.

14           THE WITNESS:    I think -- a network carries

15   data, so yes.                                                 09:30:19

16   BY MR. PAK:

17       Q   Is "data" a term of art?

18       A   Yes, it is.

19       Q   Before Google engaged you as an expert in

20   this matter, did you have an understanding of what            09:30:41

21   data means?

22       A   Yes, absolutely.

23       Q   What was that understanding?

24       A   Data is in its -- in the highest level

25   definition, data is information.                              09:30:53

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1        Q   Can data be analog or digital?

2        A   Yes, absolutely.

3        Q   Is "data network" a term of art?

4        A   I would say yes.

5        Q   Is there a difference between a network and a          09:31:18

6    data network?

7            MR. KAPLAN:    Object to form.

8            THE WITNESS:    In the context of what we're

9    speaking of, I would say no.       There is a network of

10   people that I have on LinkedIn, but that's a                   09:31:35

11   different kind of network.       But in this context, I

12   would say no.

13   BY MR. PAK:

14       Q   Would you say that a network and a data

15   network are both mediums that carry data?                      09:31:54

16           MR. KAPLAN:    Object to form.

17           THE WITNESS:    In this context, yes.

18   BY MR. PAK:

19       Q   Okay.   What are the types of devices that can

20   be on a data network?                                          09:32:15

21           MR. KAPLAN:    Object to form.

22           THE WITNESS:    The types?      What do you mean by

23   "types"?

24   BY MR. PAK:

25       Q   Well, for example, you can have a laptop or            09:32:29

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1    laptops on a data network, correct?

2        A   Correct.

3        Q   Are there any other types of devices other

4    than a laptop that can be on a data network?

5        A   Anything that allows the passage of data              09:32:45

6    through it that is connected to other devices can be

7    on a data network.

8            So in a studio environment, microphones and

9    loudspeakers are on a data network, and sometimes

10   over very long distances.      The control room is in         09:33:06

11   another place.      Obviously computers are on a data

12   network.   Cell phones are on a data network.        Yes.

13   And many other types of devices.

14       Q   Sure.     And a data network can be wired or

15   wireless, correct?                                            09:33:26

16       A   Correct.

17       Q   What are the types of cables or interfaces to

18   transfer data over a wired data network?

19           MR. KAPLAN:     Object to form.

20           THE WITNESS:     Over wired?                          09:33:39

21   BY MR. PAK:

22       Q   Yes.     I -- well, I assume in a wireless data

23   network you wouldn't need cables, right?

24       A   Right.     Correct.

25           In a wired one, I mean, I guess anything that         09:33:51

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1    can establish electrical connection.           So it would

2    be -- it could be copper, it could be optical, it

3    could be Ethernet.      There's probably others that I'm

4    forgetting, but --

5        Q   You mentioned earlier RCA cables, you can use         09:34:20

6    an RCA cable to --

7        A   Yeah.     Those fall into copper for me, but

8    yes.

9        Q   Got it.     What about speaker wires, does that

10   fall under copper?                                            09:34:33

11       A   Also under copper.

12       Q   Does a data network require devices to

13   transfer data in a certain format to communicate

14   with another device that is on the network?

15       A   There has to be -- the devices have to                09:34:47

16   understand the data coming in.        So if that is what

17   you mean by format, then yes.        If not, there are

18   translator devices that can convert it.

19       Q   Okay.     So when a device transfers data to

20   another device on a data network, there's got to be           09:35:14

21   some kind of protocol, right?

22       A   Yes.

23           MR. KAPLAN:     Object to form.

24   BY MR. PAK:

25       Q   What are the protocols that are required for          09:35:25

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1    a data network?

2        A   There's a pretty large number of them.           A

3    common protocol is to -- is based on the principal

4    of modulation.     Again, I'm speaking in the context

5    of our discussion today and the matters here.                 09:35:45

6            So in a modulation concept, the modulation

7    type protocol is understood to take in data, put it

8    in a certain form so that the receiving device can

9    understand it.     Since we're speaking of audio, pulse

10   code modulation is a common one.                              09:36:14

11           There are optical protocols called SPDIF,

12   Sony Phillips Digital Interchange Format.            There

13   are, of course, computer-to-computer protocols such

14   as Ethernet.     And several others.

15       Q   Okay.    Specifically if a device wants to            09:36:49

16   communicate with another device on an internet-based

17   network, what protocols are required for that

18   communication?

19           MR. KAPLAN:    Object to form.

20           THE WITNESS:    Can you define internet-based         09:37:10

21   network for me, please?

22   BY MR. PAK:

23       Q   Yeah.    So communicate over Wi-Fi or Ethernet,

24   for example.

25           MR. KAPLAN:    Object to form.                        09:37:20

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1            THE WITNESS:     Oh, I'm sorry.      Did you say

2    Ethernet or internet?

3    BY MR. PAK:

4        Q   Wi-Fi or Ethernet.

5        A   Ethernet.     I see.                                          09:37:29

6        Q   Yeah.

7        A   So the format for those is -- I mean, there's

8    a Wi-Fi standard under the 802.11 IEEE, Institute of

9    Electrical and Electronics Engineers, and that

10   standard has been established for -- the devices                      09:37:52

11   that want to talk to each other on Wi-Fi have to

12   implement that standard on the transmitter and the

13   receiver so that they can communicate.

14           There are also standards for Ethernet.               A

15   common one is TCP, Transfer Control Protocol.                There    09:38:10

16   are others.

17       Q   Can you name some of the other protocols?

18           MR. KAPLAN:     Object to form.

19           THE WITNESS:     There are Asynchronous Transfer

20   Mode, ATM.      Token Ring kind of networks.         And a            09:38:43

21   variation of that, which is a Star network.

22           That's what comes to mind now.          I'm sure I

23   can think of more later.

24   BY MR. PAK:

25       Q   Are there any other Wi-Fi standards other                     09:39:18

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1    than 802.11?

2        A   Well, there are other Wi-Fi methods that are

3    proprietary to individual companies that may -- that

4    don't have to comply with 802.11 between their own

5    devices.   I don't know how they work because they're         09:39:45

6    proprietary, but they do exist.

7        Q   And these protocols you mentioned, like

8    802.11, for example, or TCP, they require data to be

9    sent in a certain format; is that correct?

10           MR. KAPLAN:    Object to form.                        09:40:02

11           THE WITNESS:    Those protocols, the standards

12   require, yes, data to be in a certain type.          Just

13   like all the other protocols.

14   BY MR. PAK:

15       Q   Do the Wi-Fi and Ethernet standards require           09:40:17

16   data to be sent in data packets?

17       A   The 802.11 Wi-Fi does.       The Ethernet, as I

18   said, you can -- Ethernet is basically the cable.

19   Different protocols can run on it.          TCPIP is data

20   packets, yes.    Or it's based on data packets.               09:40:37

21       Q   Are there any Wi-Fi Ethernet standards that

22   don't require data to be sent in the form of data

23   packets?

24       A   As I said, I don't know the Wi-Fi inner

25   workings of the proprietary ones, so I'm not sure I           09:40:58

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1    can answer that.        Or the wired ones.

2            There are multi-room systems that have been

3    around in the home installer market for a long time

4    that use Ethernet.        But it's not necessarily a

5    standard Ethernet, based on a standard.                So I       09:41:16

6    couldn't say for sure what they use.

7        Q   Okay.    And I want to introduce another

8    exhibit here.     Just give me one minute.

9        A   Sure.

10       Q   Okay.    I just uploaded Exhibit 2.             Let me    09:41:33

11   know if you see it.

12       A   Yes.    Okay.

13           (Exhibit 2 was marked for identification

14       electronically and is attached hereto.)

15   BY MR. PAK:                                                       09:41:57

16       Q   Do you recognize this document?

17       A   No.

18       Q   Okay.    Well, I'll represent to you that these

19   are slides from a computer networks course from

20   Cornell University that I downloaded from the                     09:42:11

21   internet.

22           Do you see on the first page it says "CS519:

23   Computer Networks," correct?

24       A   I do.

25       Q   And it's a lecture from January 24, 2004,                 09:42:18

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1    right?

2        A    Yes.

3        Q    Okay.     And I want to focus on the slide 6, so

4    PDF page 6.

5        A    They're not numbered.      What is the title of           09:42:35

6    the slide?

7        Q    It says, "What is a data network?"

8        A    I see it.

9             MR. KAPLAN:     Chris, I don't mean to

10   interrupt, but if you sort of scroll your mouse over               09:42:48

11   the exhibit, it will show the page numbers there.

12            THE WITNESS:     Yeah, I just realized.        But for

13   some reason it's showing as page 5 for me.             But,

14   okay, I do see it.

15   BY MR. PAK:                                                        09:43:00

16       Q    I guess it is page 5.      Page 5 of the PDF.

17       A    Yes.

18       Q    And it says:

19                    "What is a data network?"       And

20            then, "The answer is not a network                        09:43:09

21            that carries data."

22            Do you see that?

23       A    I do.

24       Q    And the slide explains that one reason why a

25   data network is not a network that carries data is                 09:43:20

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1    because you can send data over a voice network,

2    which is often a euphemism for a circuit network,

3    and a voice network is not a data network.

4             Do you see that?

5        A    I do.                                                09:43:36

6        Q    Do you agree with that statement?

7        A    Not at all.

8        Q    Why do you disagree?

9        A    I think it's an appropriate statement for a

10   packet network course -- for a network course, it's           09:43:44

11   appropriate for that kind of class, but I don't

12   think that's a general statement that is true

13   because data -- networks carry data.            That's the

14   very definition of a network.

15            I don't know this class, but it sounds like          09:44:09

16   they're going to be talking about a subset of

17   networks that carry packet data, and they certainly

18   exist.

19       Q    Well, you say you never taught a course in

20   computer networks; is that right?                             09:44:22

21       A    Yes.

22       Q    Do you agree that a voice network is a

23   euphemism for a circuit network?

24       A    No.     That is not a term of art.

25       Q    Why do you disagree?                                 09:44:32

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1        A    First of all, I never heard that euphemism,

2    and I'm pretty familiar with the field of streaming

3    audio and networks and use for that, and voice.             I

4    think a voice network is a data network.             It's

5    carrying voice data.                                             09:44:59

6        Q    Well, what is a voice network?

7        A    It's a network that carries voice.           For

8    example, a telephony network.

9        Q    Could you give me some other examples of a

10   voice network?                                                   09:45:23

11       A    If we're talking about a network that only

12   carries voice, then I think telephony is probably

13   the only one that comes to mind.         There are other

14   networks that carry voice and other things, like

15   cellular networks and cell phone networks.             But if    09:45:42

16   we're talking about just voice, then I would think

17   telephony is the -- I -- I just thought of another

18   one.    A walkie-talkie network that has multiple

19   wireless devices that a firefighter department would

20   use, that is a voice network and it carries data.                09:46:01

21       Q    So a walkie-talkie network, in your opinion,

22   is a data network?

23       A    Well, I guess walkie-talkie network is --

24   walkie-talkie is the devices on a wireless network

25   that exchange voice data.                                        09:46:25

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1          Q     And what protocol does this wireless network

2    use to exchange voice data?

3          A     Most of them are based on radio frequency,

4    RF.       But the protocols, again, I think are

5    proprietary to the individual companies that make               09:46:48

6    them, like Motorola and others.

7          Q     And when you say a telephony network, are you

8    referring to a public switch telephone network?

9          A     Yes.

10         Q     Okay.     So a public switch telephone network      09:47:05

11   is a voice network; is that right?

12         A     Yes.

13         Q     Is a cellular network a voice network?

14         A     Well, as I said before, it can be a voice

15   network if all that anyone does on it is speak on               09:47:23

16   the phone.          But it is capable of other information

17   as well on that network.          So it's not exclusively

18   voice.

19         Q     So a cellular network can either transmit

20   voice or data, right?                                           09:47:36

21         A     No.

22               MR. KAPLAN:     Object to form.

23               THE WITNESS:     Voice -- a cellular network

24   transmits or carries data.           Voice is data as far as

25   it's concerned.                                                 09:47:53

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1    BY MR. PAK:

2        Q    Right.   So a cellular network can carry data

3    in the form of voice, right, or non-voice data; is

4    that right?

5        A    Right.                                               09:48:05

6        Q    So how do you transmit voice data over a

7    cellular network?

8        A    Well, it depends on what kind of cellular

9    network.     There are different kinds of cellular

10   networks.     So the first ever created was probably, I       09:48:25

11   would say, in Japan in 1979 or 1980, somewhere

12   there.     And it was an analog-based system where --

13   and I guess at the time that would have been truly

14   for voice because I don't think there was other

15   multimedia data being sent over the network.                  09:48:47

16            So that was through a mechanism called

17   frequency division multiplexing, which basically is

18   a protocol for splitting up the audio bandwidth into

19   different bands and then dividing them into

20   different bands, and then blending them all together          09:49:04

21   when they arrive at the other end.          So that was a

22   purely analog system.     And, actually, it's still in

23   existence in some parts of the world.

24            There are also digital systems, and they have

25   increased over the years from -- starting from 2G,            09:49:23

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1    which was the first one, all the way to what we have

2    today, which is 5G, increasing the bandwidth of each

3    connection and also total bandwidth to improve

4    quality and speed.

5        Q   So in a digital cellular network, what --                09:49:47

6    when you transmit data, what -- what form does that

7    data take?    Is -- does it have to take the form of

8    data packets?

9        A   The standards dictate the form.          So there are

10   different schemes.      There's time division                    09:50:16

11   multiplexing, which was the next evolution after

12   frequency division.      I would say, yes, the majority

13   of those are probably packet based.

14       Q   Are there any digital cellular networks that

15   are not packet based?                                            09:50:32

16       A   I don't know.     That would be a pretty

17   sweeping statement for me to make without looking

18   into it a little bit more.

19           I can't think of an example off the top of my

20   head, but I don't want to say no for sure because I              09:50:49

21   would have to look into it.

22       Q   Sitting here today, you can't think of any

23   digital cellular networks that are packet based --

24   that are not packet based?       Let me -- let me start

25   over.                                                            09:51:04

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1            Sitting here today, you can't think of a

2    digital cellular network that is not packet based,

3    correct?

4        A   Correct, but that's not -- I'm not saying

5    that they don't exist, just that I can't think of               09:51:15

6    one.

7        Q   So you said in a cellular network, you can

8    either transmit voice data or non-voice data, right?

9        A   Right.

10           MR. KAPLAN:    Object to form.                          09:51:35

11   BY MR. PAK:

12       Q   So in a cellular network, is -- is voice data

13   transmitted differently than non-voice data?         Do

14   they take different paths?

15           MR. KAPLAN:    Object to form.                          09:51:50

16           THE WITNESS:    Well, it kind of depends.         If

17   you're communicating with somebody else on another

18   cellular phone, for example, the path between you

19   and the other person may be different because of the

20   way cellular networks work.       If you're using your          09:52:09

21   phone to send data to a device in your house, that

22   would be a different path as well.

23           So I guess I wasn't fully clear on your

24   question.

25   ////

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1    BY MR. PAK:

2        Q   I want to go back to the slide here.         It

3    says:

4                  "Data network is often a

5            euphemism for packet network."                        09:52:36

6            Do you agree with that statement?

7        A   I do not.

8        Q   And you disagree with the statement because a

9    data network is any type of network that carries

10   data; is that -- is that correct?                             09:52:52

11       A   That's correct.    And the data can be in many

12   different forms and it could be analog or digital.

13   But even within those, it can be different protocols

14   for each one of those.

15       Q   Is a voice network a packet network?                  09:53:06

16           MR. KAPLAN:    Object to form.

17           THE WITNESS:    A voice network can be packet

18   based, yes.    But there are many -- the original

19   PBX-type switches were not.       Those were a voice

20   network that was analog.      And then later other            09:53:31

21   networks came out that are digital.

22           But analog voice networks still exist and are

23   in use in many places, including elevators for

24   safety and places where you want the internet not to

25   fail, especially for safety applications.                     09:53:47

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1    BY MR. PAK:

2        Q   Okay.     So an analog voice network is not a

3    packet network, correct?

4        A   An analog -- no, it is not.

5        Q   Is a digital voice network a packet network?          09:54:01

6        A   As I said before, most of them are.          There

7    might be examples where they're not, but I don't

8    know one off the top of my head.         I would say most

9    are.

10       Q   And I want to take a look at -- let me find           09:54:20

11   the right slide here.      I think it's PDF page 9 of

12   the slides.      The header says "Packet Network versus

13   Circuit Network."

14           Do you see that?

15       A   Yes.                                                  09:54:44

16       Q   So this slide says:

17                   "Packet Network versus Circuit

18           Network.     By contrast, packet network

19           allows small units of data packets to

20           be individually sent to different                     09:54:55

21           destinations."

22           Do you see that?

23       A   I do.

24       Q   Can you send data packets over a circuit

25   network?                                                      09:55:04

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1        A     Probably not.     I'm trying to figure out what

2    the "by contrast" means here.          Is there a previous

3    slide that contrasts to something?

4        Q     Yeah.     So in the context, you know, the

5    header says, "Packet Network versus Circuit                   09:55:32

6    Network."        So "by contrast" here it's comparing a

7    packet network to a circuit network; is that

8    correct?

9        A     Yes.

10       Q     So unlike a circuit network, this slide says:       09:55:42

11                     "A packet network allows small

12             units of data packets to be

13             individually sent to different

14             destinations."

15             Is that right?                                      09:55:59

16             MR. KAPLAN:     Object to form.

17             THE WITNESS:     Right.   But -- so in a digital

18   switching -- a digital circuit network, that could

19   also be true, right?

20             So I understand what they're trying to say          09:56:15

21   here for the purposes of this class that they're

22   teaching, but I guess reading the sentence by

23   itself:

24                     "A packet network allows packets

25             of data to be sent to different                     09:56:30

                                                                  Page 43

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1            destinations."

2            Yes, I would agree with that.

3    BY MR. PAK:

4        Q   Can a circuit network be digital or analog?

5        A   Yes.                                                  09:56:39

6        Q   What's an analog -- what are some examples of

7    analog circuit networks?

8        A   Well, those are the original telephony

9    products that connect to POTS, plain old telephone

10   system lines.    You still find limited -- you find           09:56:56

11   them in network closets of many companies or other

12   organizations.    So, yes, there are analog switching

13   or circuit networks that still exist.

14       Q   You said those are examples of an analog

15   voice network, right?                                         09:57:31

16       A   Right.

17       Q   So is a voice network not a circuit network?

18       A   A voice network --

19       Q   Let me ask you a different question.

20           Is a voice network synonymous -- synonymous           09:57:49

21   with the term circuit network?

22       A   No.

23       Q   How are they different?

24       A   A circuit network is something that requires

25   a physical connection to be made of the sending               09:58:02

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1    location and the receiving location.            You think of

2    it as the old telephone operator plugging in patch

3    cords.    So that's a circuit network.          What it

4    carries is voice.       And so I guess it's not a term

5    that I often use, but it is a term that I guess                    09:58:21

6    people use calling it a voice network.            You could

7    send other things over an analog switching network.

8        Q    And you said earlier that public switch

9    telephone network is a voice network, right?

10       A    I said -- I don't remember what I said.            The    09:58:41

11   public switch network can be used as -- for voice.

12       Q    Can a public switch telephone network be used

13   in a circuit network?

14            MR. KAPLAN:     Object to form.

15            THE WITNESS:     It's not to be used in.         It's     09:59:05

16   implemented using circuit networks, or circuit

17   network devices.

18   BY MR. PAK:

19       Q    Well, let me ask you this way.          Is a voice

20   network a type of circuit network?                                 09:59:28

21       A    Yes.

22       Q    Okay.   I want to introduce a new exhibit

23   here, Exhibit 3.       Just give me one minute.

24            (Exhibit 3 was marked for identification

25       electronically and is attached hereto.)                        10:00:11

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1    BY MR. PAK:

2        Q     Okay.     I just uploaded Exhibit 3.         Let me

3    know when you see it.

4        A     I see it.

5        Q     Do you recognize this document?                        10:00:23

6        A     I recognize maybe not this edition of it, but

7    I have seen the computer dictionary before, yes.

8        Q     Okay.     Yeah, so this is an excerpt from the

9    Microsoft Computer Dictionary, Fifth Edition.

10             And you said you're not sure if you read this          10:00:44

11   edition, but you've looked through the Microsoft

12   Computer Dictionary before, right?

13       A     Yes, I have.

14       Q     I want to look at page 3.        At the bottom, do

15   you see a definition for a data network?                         10:01:04

16       A     Yes.

17       Q     Could you please read that definition for the

18   record?

19       A

20                     "A network designed for                        10:01:15

21             transferring data encoded as digital

22             signals, as opposed to a voice

23             network, which transmits analog

24             signals."

25       Q     So like the Cornell University slide we just           10:01:25

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1    looked at, the Microsoft Dictionary distinguishes a

2    data network from a voice network, correct?

3             MR. KAPLAN:    Object to form.

4             THE WITNESS:    That's what it says.

5    BY MR. PAK:                                                     10:01:48

6        Q    Do you agree with this definition of data

7    network from the Microsoft Computer Dictionary?

8        A    I agree with parts of it.       A network designed

9    for transferring data.      But I don't agree that it

10   has to be digital.                                              10:02:00

11       Q    What does transferring data mean?

12       A    In this context, I think because it's

13   Microsoft, it means -- I assume it means data from

14   one computer is moved to another computer.

15       Q    So it talks about sending and receiving data,          10:02:31

16   right?

17       A    I don't -- maybe transferring means -- to me

18   means taking it from one place to another.           I don't

19   see anything in this definition that implies it's

20   bidirectional.                                                  10:02:53

21       Q    What do you mean by "bidirectional"?

22       A    Sending and receiving, as you said, between

23   two devices, for example.

24       Q    Okay.   So this definition, you disagree that

25   a data network is limited to digital signals, right?            10:03:29

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1        A   Correct.

2        Q   Why do you disagree?

3        A   Because I think we talked about several

4    examples of networks that carry analog signals, and

5    so it's not an opinion.     I mean, the existence of          10:03:47

6    those networks proves it doesn't have to be digital.

7        Q   And earlier, you know, as we discussed, your

8    opinion is that a voice network can transmit analog

9    signals, but it can also transmit digital signals;

10   is that correct?

11       A   Yes.

12           MR. KAPLAN:    Object to form.

13           THE WITNESS:    Yeah, I agree with that.

14   BY MR. PAK:

15       Q   Okay.   Is local area network a term of art?          10:04:17

16       A   Yes, it is.

17       Q   Before Google engaged you as an expert for

18   this matter, did you have an understanding of what

19   local area network means?

20       A   Yes, I did.                                           10:04:31

21       Q   What was that understanding?

22       A   It is a -- again, infrastructure or medium

23   for connecting multiple devices for the purpose of

24   exchanging data.

25       Q   What are the types of devices that can be on          10:04:50

                                                                 Page 48

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1    a local area network?

2        A   They can be -- because I work a lot with

3    studios and other things, it can be mixing consoles,

4    loudspeakers, computers, microphone preamplifiers,

5    printers.      There's a very large list of things it         10:05:16

6    could be on this kind -- on a local area network.

7        Q   A local area network can be wired or

8    wireless, correct?

9        A   Yes.

10       Q   What are the types of cables used to transfer         10:05:29

11   data over a wired local area network?

12       A   It's similar to the list that we talked about

13   before in terms of data networks.         It's copper and

14   all types of copper connections, including audio

15   cables, speaker cables, Ethernet, coaxial cables,             10:05:53

16   optical cables.      That's probably a good list.

17       Q   So if a speaker is connected to the Sub

18   Equalizer, for example, via a RCA cable -- let me

19   start over.

20           So if a speaker is connected to another               10:06:24

21   device, such as the Sub Equalizer via RCA cables, is

22   that on a local area network?

23       A   Yes.     Those are exchanging data.

24       Q   Does a local area network require devices to

25   transfer data in a certain format to communicate              10:06:51

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1    with another device?

2        A    It does.   The devices on that network have to

3    all have an agreed-upon representation of the data

4    or use an appropriate translator to make it

5    understandable to them, but yes.                              10:07:08

6        Q    So devices on a local area network have to

7    communicate using a specific network protocol,

8    right?

9        A    Yes.

10       Q    What are those network protocols?                    10:07:25

11       A    So there are -- again, because I come from

12   the audio world, there are modulation protocols,

13   such as pulse code modulation, pulse width

14   modulation, optical data protocols, which are

15   digital.     Well, all the ones I mentioned are               10:07:49

16   digital.

17            And then there are also the -- if we're

18   talking about printers and computers, then there are

19   the TCP internet protocols.

20       Q    Are these analog protocols or digital                10:08:04

21   protocols?

22       A    Well, I guess I don't think of a protocol as

23   analog or digital.     It's -- there are protocols for

24   analog data and there are protocols for digital

25   data.    Perhaps that's what you meant?                       10:08:36

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1        Q     Yeah, that's what I meant, actually.

2              What are the protocols for analog data for a

3    local area network?

4        A     So they're modulated -- so FM is -- not the

5    radio kind of FM, but frequency or amplitude                      10:09:02

6    modulation of audio data can be sent over cables and

7    demodulated at the receiving side and be converted

8    back to audio.     That's one that comes to mind for

9    analog.

10       Q     Are there any other protocols for analog data           10:09:26

11   over a local area network?

12       A     The method that I talked about before for the

13   1G cellular networks, frequency division

14   multiplexing, that can also be applied to wired

15   local area networks as well.                                      10:09:50

16       Q     What are the protocols for digital data over

17   a local area network?

18       A     It depends on the data.     So if it's -- again,

19   if we're talking about multimedia audio data, those

20   can be the ones that I mentioned before, the pulse                10:10:12

21   code or pulse modulation or optical, SPDIF.

22             If we're talking about computers and

23   printers, those are TCP-type protocols.              But there

24   are others.     There are peer-to-peer connections that

25   can happen.                                                       10:10:36

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1        Q     When you transmit digital data over a local

2    area network, does that data have to take the form

3    of digital data packets?

4        A     No, it doesn't have to.

5        Q     What other forms can that data take?                10:11:00

6        A     The examples I was giving before, some kind

7    of a modulation.      So pulse code or pulse width

8    modulation.      So, no, it doesn't have to be packet

9    based.

10       Q     When we talked about modulations, you               10:11:30

11   referred to them as analog data; is that right?

12       A     No.   The one kind, frequency division, is the

13   analog.     But the -- so pulse code and pulse width,

14   the examples I'm using here, require the translator

15   device.                                                       10:11:54

16             So let's say you have an audio device that's

17   sending out analog audio, but you want to connect it

18   over a local network to other devices to receive

19   that audio, the wired network.        You might convert it

20   to digital audio and then use -- and that conversion          10:12:16

21   puts it in the forms of pulse code modulated or

22   pulse width modulated audio.        Most common is pulse

23   code.     It's sent over the network in that format and

24   then the opposite operation happens at the receiving

25   end.                                                          10:12:37

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1             So these converter devices are in many cases

2    built into the audio source and receiver and

3    sometimes they can be separate.

4        Q    So when you convert audio into digital form

5    in pulse code modulator or pulse width modulated                10:12:55

6    audio data, and you transmit that over a network,

7    does that data have to take the form of data

8    packets?

9        A    No.

10       Q    What does that data -- what form can that              10:13:19

11   data take other than data packets?

12       A    You can think of it as a stream of zeroes and

13   ones because it's digital now.

14            I guess the best analogy I can think of is in

15   Morse code you can have a long beep or a short beep,            10:13:39

16   and so the pulses can be wide to represent, let's

17   say, a one or short to represent a zero and then

18   that pattern is read in by the receiving device and

19   converts back to audio.

20       Q    Does an infrared remote that sends infrared            10:14:00

21   signals to a TV amount to a coupling by way of a

22   local area network?

23       A    Yes.   It's sending data to a TV in this case,

24   right?     So over an agreed-upon protocol.          So yes.

25       Q    So as long as data is being carried over to            10:14:36

                                                                    Page 53

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1    another device using some agreed-upon protocol,

2    you're saying that that is enough to be on a local

3    area network; is that right?

4             MR. KAPLAN:    Object.   Form.

5             THE WITNESS:    It's enough to be on a network.        10:14:55

6    Local area usually is used as a term of art to

7    differentiate it from larger networks.           But, yes, I

8    agree.

9    BY MR. PAK:

10       Q    What do you mean by a local area usually is            10:15:16

11   usually used as a term of art to differentiate it

12   from large networks?

13       A    The industry uses these terms to give an idea

14   of the magnitude of the size of the overall network.

15   So they are, for example, wide area networks that               10:15:41

16   would consist possibly of multiple local area

17   networks and are generally considered to cover much

18   larger areas geographically.       So it's kind of a

19   layered terminology.      There are also metropolitan

20   area networks that typically are associated with a              10:16:03

21   city.

22            There's no hard definition of where the

23   boundary of one ends and another one begins, but one

24   would understand that a wide area network involves a

25   much larger geographic area than a local area                   10:16:16

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1    network.

2        Q    So local area network covers a limited area

3    compared to a wider network; is that right?

4        A    I wouldn't say limited.       It's just smaller

5    than the wide area network.        All networks are               10:16:42

6    limited by area.     Wide area networks are also

7    limited, perhaps to planet earth.          But it's just a

8    terminology for relative size.         So one would

9    understand a local area network has fewer devices on

10   it than a wide area network.                                      10:16:57

11       Q    Let me ask you this way, then.          A local area

12   network covers a limited geographical area; is that

13   right?

14       A    As I said, a smaller geographic area.          It can

15   be quite large.     That's why I objected to "limited."           10:17:16

16   It can be pretty big.      And then you say, okay, what

17   about wide?     Wide area network would be bigger.

18       Q    Correct, right.    So local area network covers

19   a smaller geographical area than a wide area

20   network; is that right?                                           10:17:32

21       A    Yes.

22       Q    Is there a difference between a data network

23   and a local area network?

24       A    Well, a local area network is a subset of the

25   data networks.                                                    10:17:56

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1        Q   Right.     So there is a difference between a

2    data network and a local area network, right?

3        A   No.    A local area network is a data network.

4    But it has this additional attribute that is used to

5    compare it to larger data networks, which are called          10:18:13

6    wide area networks.

7        Q   What is -- where are those additional

8    attributes that make a data network a local area

9    network?

10       A   They are used in -- when making comparisons           10:18:27

11   between two networks to differentiate usually by the

12   number of devices or the geographical area that is

13   covered.

14           So they're all data networks, but the wide --

15   it's generally understood that a wider network has            10:18:48

16   many more devices or covers a wider geographical

17   area than a local area network.

18       Q   Are there any other additional attributes

19   that make a data network a local area network?

20       A   Not that I can think of at the moment, no.            10:19:04

21       Q   Do you know any examples of a wide area

22   network?

23       A   Yes.     I don't know if there's a name for it,

24   but the Western United States internet

25   infrastructure is generally considered a wide area            10:19:37

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1    network.    Internet2 that we mentioned before is a

2    wide area network.

3        Q   Do you know any other examples of wide area

4    networks?

5        A   I would say satellite networks perhaps that           10:19:51

6    cover a part of the globe under their view are also

7    wide area networks.

8        Q   How do you transmit data over a satellite

9    network?

10       A   In multiple ways.     It could be radio               10:20:22

11   frequency based modulation or it could be packet

12   based, like it is for cell phones or cell networks.

13       Q   Can you transmit analog data over a satellite

14   network?

15       A   Analog data -- I'm trying to think of -- for          10:20:41

16   example, a short-wave radio is a kind of a network

17   that uses analog data over large distances.          It's

18   possible that it's rebroadcast through satellites.

19   I'm not sure.    I think technically you can.

20           I can't think of an example at the moment,            10:21:13

21   but there's no reason that you couldn't.

22       Q   Do you know any satellite networks that

23   transmit analog data?

24       A   Not off the top of my head.         I mean, I know

25   an old example -- communication with the Apollo               10:21:33

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1    astronauts was done through radio waves.             Perhaps

2    eventually that became digital.         But, no, I can't

3    think of an example off the top of my head.

4        Q    Does data that is transmitted over a

5    satellite network have to take the form of data                 10:21:55

6    packets?

7        A    I don't think that's required, no.

8        Q    What other forms of data can be transmitted

9    over a satellite network?

10       A    There are other modulation schemes that can            10:22:09

11   be used.     Radiofrequency modulation schemes can be

12   used to transmit data over satellites.

13            MR. PAK:    How about we take a break, a quick

14   break?     Maybe come back in five minutes.          Is that

15   okay?                                                           10:22:41

16            THE WITNESS:    Sure.

17            THE VIDEOGRAPHER:       We are off the record at

18   10:22 a.m.

19            (Recess.)

20            THE VIDEOGRAPHER:       We are on the record at        10:30:10

21   10:30 a.m.

22   BY MR. PAK:

23       Q    Dr. K., I want to explore a couple more

24   examples regarding local area networks.

25       A    Okay.   Before we get started, before you ask          10:30:25

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1    your question, I -- as I was walking upstairs, I

2    thought of an example, if I could amend my previous

3    answer.

4              An example of analog communication over

5    satellites is of course the obvious one, broadcast                10:30:38

6    television.      Early days of broadcast television was

7    analog signals being sent over satellite.            That's an

8    obvious one.      Okay.

9        Q     Does a cell phone communicate with a

10   Bluetooth headset amount to a coupling by way of                  10:31:07

11   local area network?

12       A     Yes.

13       Q     Wasn't Bluetooth a type of personal area

14   network?

15       A     Again, these definitions are kind of                    10:31:26

16   arbitrary in the sense that there is no hard line of

17   distance that goes from one to the other.            It's a

18   small local area network, but if I have a speaker 20

19   feet away from me communicating by Bluetooth, then

20   maybe that could be a local area network.            It's not     10:31:46

21   a hard definition.

22       Q     Does local area network cover a broader

23   geographical area than a personal area network?

24       A     By consensus of people in the field thinking

25   of it that way.      It's not something technical that            10:32:07

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1    causes that.    But yes.

2        Q   Are there any other differences between a

3    local area network and a personal area network?

4        A   Probably the number of devices in a local

5    area network would be higher than the number of                  10:32:24

6    devices in a personal area network that are

7    possible.

8        Q   Are there any other differences between local

9    area network and a personal area network?

10       A   I can't think of one, no.                                10:32:36

11       Q   So earlier you said, you know, communicating

12   over two walkie-talkies could amount to a coupling

13   by way of a data network, right?

14       A   Yes.

15       Q   And that's because you can carry data from               10:33:04

16   one walkie-talkie to another walkie-talkie, correct?

17       A   Correct.

18       Q   What if I just had, you know, two cups on a

19   string and I used that to communicate with George,

20   who is right by me, is that on a data network?                   10:33:25

21           MR. KAPLAN:    Object to form.

22           THE WITNESS:    That's a bit of an extreme

23   example, but if your voice carried over the string

24   and the string was carefully selected and there was

25   no background noise, yeah, it's data.            Your data is    10:33:46

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1    getting across to somebody else to another device.

2    Not a very sophisticated one, but yes.

3    BY MR. PAK:

4        Q     So as long as two devices or two nodes carry

5    data, that's going to be on a data network, in your           10:34:02

6    opinion?

7        A     Yes.

8              MR. PAK:    Okay.    I'm going to introduce

9    Exhibit 4.       I actually uploaded it on the break and

10   marked it as Exhibit 4.         Just let me know when you     10:34:27

11   see it.

12             THE WITNESS:    I see it.

13             (Exhibit 4 was marked for identification

14       electronically and is attached hereto.)

15   BY MR. PAK:                                                   10:34:45

16       Q     Do you recognize this document?

17       A     Yes.

18       Q     This is your -- this is one of your

19   publications; is that right?

20       A     That's right.                                       10:34:51

21       Q     And the title says, "RMI System: Internet

22   Meets the Future Home Theater," right?

23       A     Correct.

24       Q     At a high level, what is this publication

25   about?                                                        10:35:07

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1        A   This describes a set of experiments that

2    actually relates to the Internet2 discussion that we

3    had earlier.    RMI stands for Remote Media Immersion.

4    And for several years there was -- I was a faculty

5    investigator and then eventually a deputy director             10:35:30

6    of the National Science Foundation Engineering

7    Research Center that was established at USC, and

8    this was one of the kind of capstone experiments

9    that we did to push the limits of multimedia at the

10   time.   This was in the late 1990s.                            10:35:47

11           And so this paper talks about what

12   technologies would you -- would one need and how

13   would we use them to deliver what appears like high

14   quality representation of reality to somebody that

15   is far away.                                                   10:36:06

16       Q   What was your contribution with respect to

17   this paper?

18       A   So several parts.     It was the algorithms for

19   capturing audio on one end.       Algorithms for

20   delivering it on the other end.         Those were, I would    10:36:32

21   say, individual contributions.

22           And then there were collaborative

23   contributions in working with the researchers and

24   computer networks to develop methods together that

25   met the requirements of multichannel audio,                    10:36:48

                                                                   Page 62

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1    immersive audio, that were very different from the

2    requirements of sending faxes and e-mails in terms

3    of quality of service, forward error correction, and

4    other things like that.

5        Q   Okay.     And I want to look at PDF page 4,           10:37:12

6    Figure 1.

7            Do you see that?

8        A   Yes.

9        Q   Did you design this architecture shown in

10   Figure 1?                                                     10:37:29

11       A   This architecture is -- this is all

12   off-the-shelf equipment.       It's computers and hard

13   disks and Ethernet switch and computers at the other

14   side.   So this was not -- we discussed how to put

15   them together and all agreed that this is how we              10:37:58

16   would need to do it in order to achieve our goal.

17   But the individual pieces are off-the-shelf

18   components.

19       Q   Okay.     And, you know, I want to take a look

20   at the bottom of page -- PDF page 3 here, the last            10:38:12

21   paragraph.      It says:

22                   "Figure 1 (next page) shows the

23           server cluster architecture, which can

24           harness the resources of many nodes

25           and many disk drives per node                         10:38:26

                                                                 Page 63

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1             concurrently."

2             Then the last sentence on that page says:

3                     "Each cluster node is attached to

4             a local network switch with a fast or

5             Gigabit Ethernet link.       The nodes               10:38:41

6             communicate with each other and send

7             the media data via these network

8             connections.     We connected the local

9             switch to both a wide area network

10            backbone to serve distant clients and                10:38:51

11            a local area network, LAN, environment

12            with local clients."

13            Do you see that?

14       A    I do.

15       Q    So looking at Figure 1, what are the cluster         10:39:05

16   nodes?

17       A    What are in terms of --

18       Q    What are the cluster nodes with respect to

19   Figure 1?    Can you point to them or show me -- tell

20   me --                                                         10:39:28

21       A    It's the ones that are labeled Node 0,

22   Node 1, Node 2, Node N.       It was scalable.

23       Q    What is a node?

24       A    A node is I think a network -- people speak

25   for a connection of a device to the point of                  10:39:53

                                                                 Page 64

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1    connection between a device like a computer or

2    server to the network.

3        Q   And a local switch described in your

4    publication is the Ethernet switch shown in

5    Figure 1; is that right?                                      10:40:10

6        A   Right.

7        Q   And the internet showing here in Figure 1

8    represents the wide area network backbone described

9    in your publication; is that right?

10       A   Correct.                                              10:40:22

11       Q   Does Figure 1 also depict a local area

12   network environment with local clients?

13       A   Well, the personal computers shown there are

14   on a local area network.      The ones where the nodes

15   were indicated.                                               10:40:45

16       Q   So the nodes here represent personal

17   computers; is that right?

18       A   I think node is a term which -- it's the

19   device -- nodes to me represent connections, the

20   connection points.     They happen to be parts of a           10:41:11

21   computer, an interface that the computer has to

22   create that node.

23           So I wouldn't -- the computer itself is not

24   the node.    I think the fact that it has a connection

25   at that point makes -- creates a node as kind of an           10:41:31

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1    entryway to that network.

2        Q   I want to take a look at the bottom

3    paragraph, the left column of PDF page 4.            The last

4    sentence says:

5                    "VBR streams enhance the                         10:41:54

6            rendering quality, but they generate

7            bursty traffic on a packet-switched

8            network such as the Internet.          In

9            turn, this can easily lead to packet

10           loss due to congestion."                                 10:42:04

11           Do you see that?

12       A   Yes.

13       Q   Your publication here teaches that the

14   Internet is a packet network, correct?

15       A   Yes.                                                     10:42:14

16       Q   Looking at the last sentence of the next

17   paragraph, it says:

18                   "To avoid traffic bottlenecks,

19           each node transmits the data blocks

20           that it holds directly to the clients                    10:42:29

21           via RTP.     Hence, each client will

22           receive RTP data packets from each

23           server node within the cluster."

24           Do you see that?

25       A   I do.                                                    10:42:41

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1        Q   What is RTP?

2        A   I think it's retransmission protocol.        It's a

3    type of protocol that enables error correction.           In

4    case there are lost packets, they are re-requested

5    before they're stitched back together to avoid                  10:43:00

6    dropouts.

7            This was one of the big things we had to

8    worry about.      You don't want audio dropouts.     It

9    does not make for a high-quality experience.

10       Q   Is RTP a type of internet protocol?                     10:43:12

11       A   No.     I would say UDP is an internet protocol,

12   User Datagram Protocol, UDP is a type of internet

13   protocol.      And you can enable, if you will, or

14   include in it a method like RTP that provides for

15   the ability to correct errors that happen because of            10:43:43

16   lost packets.

17       Q   Does UDP require data to be transmitted or

18   received in the form of data packets?

19       A   Yes.

20       Q   So does RTP, right?                                     10:43:59

21       A   RTP is -- it's not a transmission -- it's not

22   the same.      Yes, RTP operates on packets to figure --

23   and requests retransmission of ones that are missing

24   based on what it was expecting, in simple terms.

25       Q   Okay.     So looking at Figure 1, the nodes             10:44:26

                                                                    Page 67

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1    shown in Figure 1 transmit data packets over a wide

2    area network; is that correct?

3        A   Well, they first go over a local area network

4    into the switch, and then the switch multiplexes

5    them all together and puts them onto the line that              10:44:55

6    goes to the wide area network, as shown at the top

7    through fast Ethernet or Gigabit Ethernet.

8        Q   Sure.     So let me correct that here.

9            So nodes communicate with the Ethernet switch

10   over a local area network, correct?                             10:45:09

11       A   Correct.

12       Q   And these nodes send data packets to the

13   internet switch; is that correct?

14       A   Yes.     In this architecture, yes.

15       Q   And in this architecture, the Ethernet switch           10:45:21

16   connects to the -- or communicates over the internet

17   and sends data packets over the internet; is that

18   correct?

19       A   Right.     Where it says "internet backbone

20   routers," those are -- exist -- there's a connection            10:45:39

21   in USC's IT building and that's -- so if we went

22   from there to that router, then that router then has

23   a direct line to the wide area internet.             In this

24   case, it was Internet2.      Not the general internet,

25   but a similar type of network.                                  10:45:58

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1        Q   Okay.    I want to introduce Exhibit 5 here.

2    Give me one second.

3            Okay, I just uploaded Exhibit 5 and marked it

4    as Exhibit 5.     Let me know when you see it.

5        A   I see it.                                              10:46:21

6            (Exhibit 5 was marked for identification

7        electronically and is attached hereto.)

8    BY MR. PAK:

9        Q   Do you recognize this document?

10       A   Yes.    It's one of my patents.                        10:46:33

11       Q   So you're a co-inventor of this patent,

12   correct?

13       A   Yes.

14       Q   And the patent number is 8,705,764, right?

15       A   Yes.                                                   10:46:47

16       Q   At a high level, what does this patent

17   generally disclose?

18           MR. KAPLAN:    Object to form.

19           THE WITNESS:    We were trying to solve a

20   problem that happens when you take audio -- you                10:47:05

21   start with analog audio and then you digitize it

22   into a high quality digital form.         And then in order

23   to store it perhaps on a portable device, one of

24   many different data compression algorithms are used.

25   MPEG being the most popular, but there are others              10:47:30

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1    like AAC.

2            The result of that compression is that the

3    higher frequencies of sound that were in the

4    original tend to be discarded in the name of

5    bandwidth savings.      And so this patent teaches a              10:47:44

6    method to recreate the lost high frequencies using

7    information that is in the lower frequencies that

8    did not get discarded.

9    BY MR. PAK:

10       Q   I want to focus on Column 11.          It's on PDF        10:48:04

11   page 21, lines -- lines 55 to 60.         It's the last

12   sentence before the last paragraph.

13           Could you please read those lines for me for

14   the record.

15       A   Is this the "Various embodiments" paragraph?              10:48:25

16       Q   The sentence right above it.

17       A   "The connectivity between the modules"?           That

18   one?

19       Q   Yes, that one.

20       A   Okay.

21                   "The connectivity between the

22           modules and/or components within the

23           modules may be provided using any one

24           of the connectivity methods and media

25           that is known in the art, including,                      10:48:52

                                                                      Page 70

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1            but not limited to, communications

2            over the internet, wired or wireless

3            networks using the appropriate

4            protocols."

5        Q   So it talks about communications over the                   10:49:01

6    internet using the appropriate protocols.               What are

7    the appropriate protocols communicated over the

8    internet?

9        A   It's been a little while since I've seen

10   this, so just give me a second to take a look and                   10:49:18

11   put it in context.

12       Q   Sure.     Go ahead, take your time.

13       A   Yeah.     Okay.    It's all coming back.

14       Q   Okay.     So let me re-ask the question here.

15           What are the appropriate protocols to                       10:50:17

16   communicate over the internet?

17       A   It's what we talked about before.              If it's

18   the internet as we have it today, it's TCPIP or

19   peer-to-peer or UDP, as we just saw.

20       Q   Are there any other protocols?                              10:50:39

21           MR. KAPLAN:       Object to form.

22           THE WITNESS:       There are others.       There's --

23   let's see.      OSI is another one, Open System

24   Interfaces.      There are probably others I'm not

25   remembering.      There are a number of these internet              10:51:11

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1    protocols.

2             To be clear, the patent is really not about

3    connecting -- it's just saying that the modules that

4    we're discussing here that are going to do advanced

5    audio processing don't necessarily have to be in one          10:51:30

6    device, they can be spread out, distributed.         That

7    was the point of that paragraph.

8    BY MR. PAK:

9        Q    What is the OSI protocol?

10       A    It's a -- the best way to describe it, it's          10:51:48

11   an attempt at abstracting the individual layers that

12   are required in a network system all the way from

13   the hardware layer to the firmware to the software

14   that needs to run on top of it, to the physical

15   connections, in a way that provides a more uniform            10:52:16

16   way for people that are trying to send data over

17   these kinds of networks without having to know

18   exactly what type of device was there.

19            So it moves it up to be a more abstract

20   representation of the interface of the network.         I     10:52:34

21   believe there are seven layers in it that -- in that

22   stack.

23       Q    Does the data that is transmitted using the

24   OSI protocol require data packets, data transmitted

25   in the form of data packets?                                  10:53:01

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1        A   Yes, it's a packet-based system.

2        Q   Okay.     I want to look at Column 9, lines 20

3    to 24 of your patent.      And I'm just paraphrasing

4    here, but it says that the output is characterized

5    by a transfer function.                                       10:53:27

6            Do you see that?

7        A   I do.

8        Q   What does the term "characterize" mean?

9        A   In this context it means that -- so we're

10   talking about a system.      A system has inputs and          10:53:43

11   outputs.     And typically when you do system analysis,

12   you want to find a way to describe the output in

13   terms of the input signal.

14           And so the transfer function in this context

15   says that if I have -- if I know what the amplitude           10:53:58

16   level was to this box and I know what the transfer

17   function is, then I can tell you what the output is.

18       Q   Do you know any words or phrases that are

19   synonymous with the term "characterize"?

20           MR. KAPLAN:     Object to form.                       10:54:17

21           THE WITNESS:     I'm trying to think of it in

22   this context, and not just generally.

23           What it really means here is mathematically

24   described.      Because we're talking about this

25   equation here.      That would be the closest I can           10:54:41

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1    think of.

2    BY MR. PAK:

3        Q    Can you think of any other words or phrases

4    that are synonymous with "characterize"?

5        A    Not off the top of my head, no.                      10:54:53

6        Q    But "describe" would be one of the terms that

7    is synonymous with "characterize," right?

8             MR. KAPLAN:    Object to form.

9             THE WITNESS:    Yeah, but I don't want to -- in

10   math we say mathematically described, so I would be           10:55:11

11   more comfortable keeping it that way.

12   BY MR. PAK:

13       Q    What about defined?

14            MR. KAPLAN:    Object to form.

15            THE WITNESS:    Defined has a different meaning      10:55:24

16   to me.    A definition in math or applied math means

17   that you're making some assumptions and defining

18   them.    But that's not what is happening here.

19            This is a -- an equation that has certain

20   elements.     And so the system is characterized by           10:55:47

21   this transfer function.      So I think describe

22   mathematically is more accurate.

23   BY MR. PAK:

24       Q    What if I say -- what if we change "the

25   output is characterized by a transfer function" to            10:56:04

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1    "the output is represented by a transfer function,"

2    would that be accurate?

3            MR. KAPLAN:     Object to form.

4            THE WITNESS:     I don't think so because

5    "represented" to me means it's not the thing, but             10:56:23

6    it's being represented by something else.            And

7    that's not technically correct here.           This H

8    function is the function.

9    BY MR. PAK:

10       Q   What if you say "the output indicates a               10:56:42

11   transfer function," would that be incorrect?

12       A   No.   That would be something completely

13   different and it would indicate that there might be

14   an output or something, but that's not -- this is a

15   deterministic system, and so no.                              10:57:00

16       Q   Well, looking at the equation here, the

17   output Y equals the transfer function times the

18   sinusoid input, S-I-N-U-S-O-I-D.

19           So the output function here indicates the

20   transfer function and the sinusoid input, right?              10:57:35

21       A   No.

22       Q   It provides some kind of indication of it?

23       A   No, no.    This is a way to calculate the

24   output function.      So it is calculated by multiplying

25   the transfer function with the complex sinusoid.              10:57:53

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1        Q   Okay.   Let me try to introduce another

2    exhibit here.

3            I just uploaded a new exhibit and marked it

4    as Exhibit 6.    Let me know when you see it.

5        A   I see it.                                              10:58:25

6            (Exhibit 6 was marked for identification

7        electronically and is attached hereto.)

8    BY MR. PAK:

9        Q   Do you recognize this document?

10       A   Yes, it is another one of my publications.             10:58:35

11       Q   The title of the publication is "High Quality

12   Multichannel Audio Over the Internet," right?

13       A   Yes.

14       Q   What was your contribution to this

15   publication?                                                   10:58:51

16       A   These are two students in the center.        One of

17   them was in my group and the other one was in the

18   networking group.    And this was a paper that --

19   similar to the previous one, it was trying to figure

20   out ways to transmit high quality audio over the               10:59:09

21   internet.

22           And the reason that it was an interesting

23   topic was that it was really not possible to

24   transmit high quality audio over the internet, at

25   least not in the early days.       And so this paper           10:59:23

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1    shows some ways of doing that.

2        Q   Let's take a look at the abstract.           The

3    second sentence here says:

4                    "We present a robust scalable

5            architecture for delivering                              10:59:44

6            uncompressed multichannel audio over

7            high bandwidth ATM networks."

8            Do you see that?

9        A   I do.

10       Q   Is an ATM network a type of data network?                10:59:54

11       A   Yes.

12       Q   Is that because an ATM network carries data?

13       A   Actually, I should revise it.

14           ATM network is a -- is a protocol for

15   transmitting data over data networks.           It stands for    11:00:10

16   Asynchronous Transfer Mode, so it's a method of

17   transmitting data over networks, over data networks.

18       Q   So an ATM network is not an actual network,

19   it's a protocol; is that right?

20       A   Right.     There's a -- there's a network                11:00:29

21   architecture that has connectors and switches and

22   things that have to support the ATM protocol in

23   order to have an ATM network of devices.

24       Q   Okay.     Looking at the abstract, it says:

25                   "Performance results from our                    11:00:52

                                                                     Page 77

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1            implementation on a high-speed local

2            area ATM network are presented that

3            identify the effects of audio packet

4            size, buffering, and network latency

5            on the quality of multichannel program                11:01:05

6            material."

7            Do you see that?

8        A   I do.

9        Q   So is a high-speed local area ATM network a

10   network protocol or a data network?                           11:01:16

11       A   No.     This is -- this sentence is kind of

12   conflating to me.      It's a local area network running

13   the ATM protocol for purposes of this experiment.

14       Q   Got it.

15       A   So it requires different hardware.           A TCP    11:01:32

16   local area network would require a different

17   hardware than an ATM protocol local network.

18   Sometimes they can be in the same box, but usually

19   it's different.

20       Q   So your publication here is talking about a           11:01:48

21   local area network that uses the ATM protocol; is

22   that correct?

23       A   Right.

24       Q   Did you design and implement the local area

25   network that uses this ATM network described in this          11:02:04

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1    publication?

2        A   If you look in Figure 1 of the next page,

3    this is a similar simpler diagram than -- compared

4    to the one that we saw before with the RMI network.

5            So we designed this architecture or this set          11:02:28

6    of components that are all off-the-shelf audio

7    parts, and you can see the ATM adapter inside the

8    computer that allows you to put out onto the network

9    data that follows the ATM protocol.          And then

10   there's the playback application on the top.                  11:02:54

11           So, yeah, we designed this architecture, but

12   it consists of computers and switches and wires that

13   are off the shelf and software that we put inside it

14   to do what we -- to run this experiment.

15       Q   And when you say that "we designed," are you          11:03:09

16   saying that you designed the network described in

17   Figure 1, for example?

18           MR. KAPLAN:    Object to the form.

19           THE WITNESS:    The way collaborative papers

20   work is this is a group, you know, we have group              11:03:31

21   meetings.    We designed the experiment and then have

22   regular kind of intervals of meeting and discussing.

23           So if you're asking who designed each

24   individual part, it's hard to say because we had

25   joint code sessions where we all sat in front of the          11:03:53

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1    screens, do this, change that, let's try this

2    exercise.     And so it's hard to break it up into an

3    individual.

4    BY MR. PAK:

5        Q   Yeah, understood.                                     11:04:04

6            So how about maybe -- let's take a look at

7    the last page, PDF page 6, and there's an

8    acknowledgment section.      It says:

9                    "The authors would like to thank

10           Dr. Sherali Zeadally" --                              11:04:18

11           I might be botching that name.

12       A   No, that's all right.

13       Q   So let me read it again.

14                   "The authors would like to thank

15           Dr. Sherali Zeadally for his work in                  11:04:30

16           its design and implementation of the

17           ATM network."

18           Do you see that?

19       A   I do.

20       Q   So Dr. Zeadally is the one who actually               11:04:39

21   designed and implemented the local area network that

22   uses the ATM network described in this publication,

23   correct?

24       A   Well, so he was a collaborator on this.       The

25   second author in the paper was a joint student, so            11:04:54

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1    he was -- Mr. Zhu was Dr. Zeadally's student.

2    Dr. Zeadally's lab was doing experiments with ATM

3    networks, and they had the infrastructure that we

4    were looking for in terms of switches and the right

5    cables and so on.                                             11:05:17

6            So I think this is kind of -- because he

7    wasn't part of this particular experiment, he is not

8    a co-author, but we used his lab where he had kind

9    of a tabletop network for us to experiment with

10   these protocols.                                              11:05:34

11       Q   Okay.     I want to take a look at PDF page 3.

12   And there's a header 3 that says, "Experimental

13   Results".

14       A   Yes.

15       Q   Could you read the first two sentences under          11:05:51

16   that header?

17       A   Yes.

18                   "In order to assess the effects

19           of packet size and buffer size on the

20           quality of the audio streams                          11:06:01

21           transmitted through the network, as

22           well as on the delay introduced by the

23           system, we performed a series of

24           tests."

25           The next one as well?                                 11:06:13

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1        Q   You know, that's fine.

2        A   Okay.

3        Q   So this publication discloses a system

4    architecture in which data packets are transmitted

5    over a local area network that uses the ATM                   11:06:25

6    protocol; is that correct?

7        A   Well, this publication was not intended to

8    disclose the architecture.       It was more intended to

9    use the architecture to experiment with what needs

10   to be changed or fixed or, you know, what matters in          11:06:39

11   high-quality audio transmission over a network that

12   has the bandwidth and the architecture that could

13   enable it.      We just didn't know what the right

14   architecture was for transmitting audio in terms of

15   the buffer size and packet sizes, and so on.                  11:06:56

16           So it was more of an experimental paper that

17   uses a network architecture based on the ATM system

18   that was kind of local to us there so we could

19   change things in it.

20       Q   All right.     So the publication describes a         11:07:09

21   local area network that uses the ATM protocol to

22   transmit data packets, right?

23           MR. KAPLAN:     Object to form.

24           THE WITNESS:     The publication describes an

25   experiment that was conducted on the system we just           11:07:24

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1    described.

2    BY MR. PAK:

3        Q   Can you send data over a local area network

4    using the ATM protocol in the form of data that is

5    not a data packet?                                             11:07:51

6        A   No.     The ATM protocol is a packet-based

7    protocol.

8        Q   Okay.     I want to introduce another exhibit

9    here, so just give me a minute.

10           Okay.     I just introduced Exhibit 7.       Let me    11:08:45

11   know when you see it.

12       A   I see it.

13           (Exhibit 7 was marked for identification

14       electronically and is attached hereto.)

15   BY MR. PAK:                                                    11:08:51

16       Q   Do you recognize this document?

17       A   Yes.

18       Q   At a high level, what does this publication

19   describe?

20           MR. KAPLAN:     Object to form.                        11:08:58

21           THE WITNESS:     I don't know if this was an

22   actual publication.      This was more of an internal --

23   more kind of like a white paper.         I don't remember

24   the origin of it.      It could be part of a report that

25   was presented to the annual review by the National             11:09:14

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1    Science Foundation.

2            It's related to an experiment that we did

3    with the New World Symphony based in Miami.           And it

4    was similar to the RMI experiment trying to --

5    trying to deliver high-quality performance that is              11:09:57

6    convincing you to feel like you're in the concert

7    hall with them, even though you are 3,000 to 4,000

8    miles away.

9            We actually demonstrated this live to an

10   audience of several hundred people.          It was the         11:10:10

11   first time that it had ever been done at that scale.

12   BY MR. PAK:

13       Q   This publication talks about HYDRA.          It's

14   abbreviation for high resolution live streaming.

15   What is HYDRA?                                                  11:10:26

16       A   So HYDRA was -- Professor Zimmerman that you

17   see there at the top, his laboratory and his

18   research group was experimenting with using similar

19   things that we talked about before using the UDP

20   protocol with error correction to deliver                       11:10:52

21   high-quality content and overcome the problems that

22   normally arise with traditional ways of doing that,

23   for example, TCP, which were not designed for

24   streaming media.    They were designed for offline --

25   it's okay if you can wait a second before you get               11:11:13

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1    your e-mail, but you can't wait to get the next

2    audio packet, right?      So that's what HYDRA is.    It

3    was trying to do that.

4        Q   Okay.     And I want to take a look at the

5    second section, the Statement of Project Goals.        And    11:11:27

6    in the middle of that section, the publication says:

7                    "This project focuses on the

8            design of a system that enables HD

9            quality video and multiple channels of

10           audio to be streamed across an                        11:11:43

11           IP-based network with commodity

12           equipment."

13           Do you see that?

14       A   Sorry.     The middle section -- I missed where

15   you pointed.                                                  11:11:52

16       Q   Yeah.     So in the middle of Section 2,

17   Statement of Project Goals --

18       A   Oh, yes.     I see it.

19       Q   Okay.     What is an IP-based network as

20   described in this publication?                                11:12:06

21       A   It's an internet protocol based network,

22   which is kind of a very common type of protocol for

23   transmitting data over the internet.

24       Q   Okay.     And the second page here, Section 4,

25   the second to last paragraph -- second sentence --            11:12:30

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1    second to last sentence in the first paragraph, it

2    says:

3                   "The transmission subsystem uses

4            the Realtime Transport Protocol, RTP,

5            on top of the Universal Datagram                         11:12:45

6            Protocol, UDP."

7            Do you see that?

8        A   Yes.

9        Q   So this publication is talking about an

10   IP-based network that uses UDP; is that right?                   11:12:55

11       A   That's right.     Those are subsets of an

12   IP-type network, just as TCP is.

13       Q   I want to take a look at the system

14   architecture shown on Figure 1 of that page.

15       A   Yes.                                                     11:13:14

16       Q   Do you see the stream transmitter/receiver in

17   the figure?

18       A   Yes.

19       Q   What does the stream transmitter/receiver do?

20       A   That's -- that's a piece of software that's              11:13:25

21   kind of like the core of the HYDRA system.           It takes

22   in multiple channels of microphones in this example

23   of a live recording, multiple cameras, and kind of

24   packages them together to send over the network by

25   paying attention to things that we talked about                  11:14:03

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1    before, error correction and other things.

2        Q   What is the form of data that is transmitted

3    or received over the IP-based network disclosed in

4    this system architecture?

5        A   Well, it's what it says on the line above RTP         11:14:19

6    over UDP.

7        Q   Right.    So this system architecture is

8    designed to transmit or receive data packets, right?

9        A   Well, it's using an existing network that is

10   based on data packets.                                        11:14:38

11           So we had to take the data that is coming in

12   in different forms, audio and video, and convert it

13   to match what the network expects, in this case,

14   data packets.

15       Q   Okay.    I want to introduce another exhibit          11:14:53

16   here.   Just give me one minute.

17           Okay, I just uploaded a new exhibit and

18   marked it as Exhibit 8.

19           (Exhibit 8 was marked for identification

20       electronically and is attached hereto.)                   11:15:27

21   BY MR. PAK:

22       Q   Let me know when you see it.

23       A   I see it.

24       Q   Do you recognize this document?

25       A   Yes.                                                  11:15:39

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1        Q    This is another one of your publications,

2    correct?

3        A    Yes.

4        Q    What does this publication describe?

5             MR. KAPLAN:    Object to form.                         11:15:51

6             THE WITNESS:    This is another one of the same

7    kind of sequence of experiments we've been

8    discussing, which is high fidelity picture and sound

9    transmitted in a synchronized way over the Internet2

10   in this case.     This particular one was trying to             11:16:08

11   understand what happens when you have an interactive

12   section.

13            So it's one way to stream in one direction to

14   an audience far away.      It's another way when you

15   need to have two-way communication.          Because in this    11:16:27

16   example, we had two musicians and they are supposed

17   to play a piano piece together, each on their own

18   piano.     And musicians require, of course, very

19   accurate timing between them in order to perform.

20            So by adjusting -- artificially adjusting the          11:16:44

21   delay between the two of them is what -- how they

22   would hear the other side.       And we were looking for

23   what the limits are of human performance over

24   networks.

25   ////

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1    BY MR. PAK:

2        Q   I want to take a look at the first paragraph

3    on the right column of page 1.        After the first

4    sentence, it says:

5                   "Network latency is an

6            unavoidable fact of interaction

7            environments over the Internet."

8            Do you see that?

9        A   Yes.

10       Q   What is network latency?                               11:17:22

11       A   It's the amount of time it takes for

12   information that was sent from one side of the

13   network and how long it takes to be received at the

14   other side.     It is not instantaneous and it depends

15   on distance usually.     That's what we call latency.          11:17:39

16       Q   Why is network latency an unavoidable fact of

17   the interaction environments over the internet?

18       A   Because of the protocols that are in place

19   that have been created to ensure, for example, that

20   data isn't lost.     Sometimes that takes longer to            11:18:04

21   make sure that it's all collected before it's

22   presented to the other side.       That's one reason.

23           The other reason is every time you go -- it's

24   not a direct connection between two distant places.

25   You go through switches on the network.              And so    11:18:22

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1    switches also, as they pass the data through,

2    introduce delay in order again to avoid -- because

3    they're doing something to make sure not to lose

4    anything.    So the connection of all these boxes

5    introduces some delay.                                        11:18:37

6            It's not that dissimilar from an analog

7    network over long distances.       Audio doesn't travel

8    at the speed of light.      The longer the cable is --

9    it has to be pretty long, but you see delays in

10   analog circuits as well.                                      11:18:53

11       Q   When you say "switches" on a network, are you

12   talking about packetized -- packet-based network

13   switches?

14       A   In this case we're talking about the

15   internet, so that is a packet-based system, yes.              11:19:06

16       Q   Okay.     And the bottom of PDF page 1 under

17   subsection "Low Latency Audio," it says:

18                   "The challenges in transmitting

19           audio over the internet are packet

20           loss and fluctuations in transmission                 11:19:24

21           time."

22           So, you know, is packet loss, you know,

23   inevitable in a system that communicates over the

24   internet?

25           MR. KAPLAN:     Object to form.                       11:19:42

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1            THE WITNESS:    Inevitable?      There are ways to

2    mitigate it, and trade-offs.       So you could make it

3    not happen at all.     If you were okay incurring more

4    latency, just wait longer for everything to arrive.

5    But that's the trade-off.      So in a realtime system        11:19:59

6    where you don't have the luxury of waiting, they are

7    inevitable in that sense, yes.

8    BY MR. PAK:

9        Q   Okay.   But when we talk about devices that

10   communicate over the internet, we're talking about            11:20:20

11   devices that send or receive data in the form of

12   data packets, right?

13       A   Well, in that diagram, the two end devices,

14   the one at Diagram 1 we were talking about, is

15   that -- I'm sorry.     That was in the previous               11:20:38

16   example?   Yes, it was.    Let's see if it's here as

17   well.

18           The devices that connect to the internet,

19   let's say the computer that connects to the internet

20   on the sending side takes in analog data from the             11:20:53

21   real world, converts it first to digital, and then

22   it has to convert it to a form -- you know, if we're

23   doing this experiment over a different kind of

24   network, we'd have to convert to whatever that

25   network expected.                                             11:21:11

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1            In this case, because this was an Internet2

2    experiment, we had to convert it to the UDP style --

3    the IP-type packet based form so that we could use

4    that network.

5            And then the opposite procedure happens at             11:21:23

6    the other end.      We can't experience packets.     We can

7    experience picture and sound.        So we have to convert

8    it back.

9        Q   So once data is converted from analog to

10   digital and sent over the internet, that data has to           11:21:35

11   take the form of packets; is that right?

12       A   If we're going to use an internet -- existing

13   internet infrastructure, yes.

14       Q   Okay.     I want to take a look at Figure 1

15   shown on PDF page 2.                                           11:22:02

16       A   Okay.

17       Q   And the top of Figure 1 says:

18                   "Data sources produce packetized

19           realtime data streams."

20           Do you see that?                                       11:22:16

21       A   Yes.

22       Q   What are the data sources in Figure 1?

23       A   All kinds of multimedia capturing devices.

24   Camera, microphones -- cameras, microphones, in this

25   case haptic sensors.                                           11:22:38

                                                                   Page 92

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1        Q   So data from these data sources are

2    first converted to digital form, right, and then

3    sent in packets over the internet; is that correct?

4            MR. KAPLAN:     Object to form.

5            THE WITNESS:     Yes.    Yes.   That's what those     11:23:08

6    little rectangles are trying to indicate, that data

7    has been packetized in realtime using RTP, as it

8    says there.

9    BY MR. PAK:

10       Q   Okay.   You know, I'm going to start                  11:23:26

11   transitioning over to discussing your declaration.

12   So why don't we take a ten-minute break.

13           Is that okay?

14       A   Sure.

15           THE VIDEOGRAPHER:       Off the record at             11:23:34

16   11:23 a.m.

17           (Recess.)

18           THE VIDEOGRAPHER:       We are on the record at

19   11:36 a.m.

20   BY MR. PAK:                                                   11:36:18

21       Q   Dr. K., you submitted a declaration on

22   June 1, 2021, for this matter between Sonos and

23   Google, correct?

24       A   Correct.

25       Q   You were retained as an expert to offer               11:36:35

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1    opinions on claim construction related to the

2    asserted patents in this case, right?

3        A   Yes.

4        Q   When were you contacted to offer your

5    opinions for claim construction related to the                   11:36:46

6    asserted patents?

7            MR. KAPLAN:    Object to form.

8            THE WITNESS:    Specific to claim construction,

9    the discussions probably started a month ago, I'm

10   guessing.                                                        11:37:01

11   BY MR. PAK:

12       Q   So you were -- were you first contacted to

13   offer opinions on claim construction in May; is that

14   correct?

15           MR. KAPLAN:    Object to form.                           11:37:13

16           THE WITNESS:    Again, I don't have the dates

17   in my head.     It was after I was retained for the

18   case, obviously, but sounds about right.             It could

19   have been in April.

20   BY MR. PAK:                                                      11:37:26

21       Q   Okay.    Were you informed of what each party's

22   construction was at the time?

23       A   At the time -- I was eventually, but not at

24   the time, no.

25       Q   What did you do to prepare for your                      11:37:45

                                                                     Page 94

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1    declaration?

2        A    I read the patents.       I read through the

3    patent office -- office actions.          Some of the prior

4    art.    That's basically it.       And then used knowledge,

5    my experience in the field to help form my opinions.                11:38:12

6        Q    Did you consider the cited references in

7    the -- did you consider the cited references in the

8    office actions?

9        A    Oh, the office actions.

10            I'm trying to remember.       I read through a lot         11:38:36

11   of documents.       I don't know if that -- for sure.          I

12   tried to be as complete as possible.            I don't know

13   if I did or not.       Probably.

14       Q    Do you understand that Sonos's experts,

15   Dr. Almeroth and Dr. Schmidt, submitted declarations                11:38:59

16   on claim construction in this case?

17       A    Yes.

18       Q    Did you read Dr. Almeroth's declaration?

19       A    I did.

20       Q    Did you read Dr. Schmidt's declaration?                    11:39:14

21       A    I believe I did.

22            MR. PAK:     And, you know, just for the record,

23   I just noted Dr. Schmidt is actually on this Zoom

24   call.    So I just wanted to point that out.          I think

25   he joined a little bit late, but he is just here for                11:39:37

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1    observation purposes.

2    BY MR. PAK:

3        Q   Did you consider any other material to

4    prepare your declaration?

5        A   Other than what I mentioned, no.                      11:39:51

6        Q   All right.     I'd like to introduce your

7    declaration here now as Exhibit 9.          I marked it as

8    Exhibit 9 and uploaded it.       So just let me know when

9    you see it.

10       A   I see it.     I just wanted to ask you a              11:40:36

11   question.      I have a clean copy of the -- from the 28

12   pages of the part that I wrote on my desk.

13   Sometimes it's easier to go to a page that way than

14   it is -- if that's okay with you, I have it right

15   here.   It's not marked.     It's just a clean printout.      11:40:49

16           (Exhibit 9 was marked for identification

17       electronically and is attached hereto.)

18   BY MR. PAK:

19       Q   Yeah, that's okay.

20           Can you look at the last page of your                 11:40:53

21   declaration or PDF page 28 of Exhibit 9.

22       A   Yes.

23       Q   Is that your signature?

24       A   It's my electronic signature, yes.

25       Q   I forgot to ask you, is this a true and               11:41:17

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1    correct -- true and accurate copy of your

2    declaration submitted June 1, 2021?

3        A    Yes, it is.

4        Q    Okay.    And the opinions set forth in this

5    declaration are yours, correct?                                 11:41:32

6        A    Yes.

7        Q    To date, this is the only declaration that

8    you submitted in this case, correct?

9        A    That's right.

10       Q    Your declaration is as accurate and complete           11:41:42

11   as you could reasonably make it, correct?

12       A    Yes.    There's a minor copy and paste problem

13   that happened that I saw last night, but other than

14   that, yes.

15       Q    Okay.    And where is that copy and paste              11:42:02

16   error?

17       A    It's on page 13.     Claim terms.      Part A is

18   zone configuration and part B should be just group

19   configuration.      But initially I had them both

20   together in one table and then I split it up.           So B    11:42:26

21   should be just group.       That's it.

22       Q    Is that the only error you see in your

23   declaration?

24       A    That's all I saw, yes.

25       Q    So let's walk through your declaration.                11:42:42

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1            Section 2, paragraphs 8 through 13, sets

2    forth your qualification as an expert, correct?

3        A   Yes.

4        Q   And Section 3, paragraphs 14 to 22, sets

5    forth your understanding of various legal standards           11:43:00

6    related to claim construction; is that fair?

7        A   That's correct.

8        Q   In reaching your opinions set forth in your

9    declaration, did you apply the legal standards set

10   forth in Section 3?                                           11:43:16

11       A   Yes.     To the best of my ability, I did.

12       Q   Okay.     Section 4, paragraphs 23 to 29, sets

13   forth your overview of the asserted patents,

14   correct?

15       A   Yes.                                                  11:43:30

16       Q   Subsection A -- in subsection A, you provide

17   an overview of what you call the direct play

18   patents, correct?

19       A   Yes.

20       Q   According to subsection A, the direct play            11:43:50

21   patents share a common specification, correct?

22       A   Yes.

23       Q   At subsection B you provide an overview of

24   what you call the zone scene patents, correct?

25       A   Right.                                                11:44:14

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1        Q    According to this section, the zone scene

2     patents include the '206, '966, and '855 patents,

3     correct?

4        A    Yes.    I just want to point out these names

5     were provided to me and I believe they were -- these         11:44:31

6     are the Sonos designations.      I'm not a hundred

7     percent that's -- the groupings of the patents were

8     provided this way.

9        Q    When I -- if I refer to certain patents as

10    direct play patents or zone scene patents, you               11:44:46

11    understand what I mean by those terms?

12       A    Yes.

13       Q    Okay.

14       A    I do.

15       Q    According to subsection B, the '206 patent           11:44:52

16    specification is substantially the same as the '966

17    and the '855 patent specifications, correct?

18       A    Yes.

19       Q    Okay.    Moving on to section 5, paragraphs 30

20    to 34, those paragraphs set forth your opinions              11:45:14

21    regarding the level of ordinary skill in the art,

22    correct?

23       A    Correct.

24       Q    Then Section 6, paragraphs 35 and 36, sets

25    forth your understanding of the asserted claims in           11:45:28

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1     this matter, correct?

2        A    Right.

3        Q    Section 7, paragraphs 37 all the way through

4     the end to paragraph 76, sets forth your analysis

5     regarding some of the parties' disputed claim                11:45:48

6     construction terms in this matter, correct?

7        A    Yes.

8        Q    And specifically paragraphs 37 to 48 provide

9     your analysis regarding the terms "zone

10    configuration" and "group configuration," correct?           11:46:02

11       A    Correct.

12       Q    Paragraphs 39 through 53 provide your

13    analysis regarding the term "local area network,"

14    correct?

15       A    39?                                                  11:46:18

16       Q    Go ahead.   Sorry.   Let me repeat that.

17            Paragraphs 49 through 53 provide your

18    analysis regarding the term "local area network,"

19    correct?

20       A    Yes.                                                 11:46:38

21       Q    And paragraphs 54 to 59 provide your analysis

22    regarding the term of "media particular playback

23    system," correct?

24       A    Yes.

25       Q    Paragraph 60 to 73 provide your analysis             11:46:59

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1     regarding the term "data network," correct?

2        A    Correct.

3        Q    And, lastly, paragraphs 74 to 76 provide your

4     analysis regarding the term "wherein the instruction

5     comprises the instruction," correct?                          11:47:18

6        A    Right.

7        Q    So we just walked through your declaration

8     here.   Do you have any other changes besides that

9     copy and paste error that you would like to make to

10    your declaration?                                             11:47:33

11       A    No.

12       Q    So how about we jump to paragraph 24.        It's

13    on page 9 of your declaration.

14       A    Okay.

15       Q    Okay.     Paragraph 4 -- paragraph 24 says:           11:47:54

16                    "Each of the zone scene patents

17            originated with U.S. provisional

18            application number 60/825,407, which

19            was filed on September 12, 2006."

20            Do you see that?                                      11:48:14

21       A    Yes.

22       Q    Now, let's take a look at paragraph 28 on the

23    next page.

24       A    I see it.

25       Q    Actually, if you go to the bottom of page 11,         11:48:33

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1     it says:

2                    "In my experience, at the time

3             the Zone Scene patents were filed,

4             multi-zone audio systems existed from

5             a variety of manufactures, such as                   11:48:45

6             Bose, Crestron, and others."

7             Do you see that?

8        A    Yes.

9        Q    Do you know any specific conventional

10    multi-zone audio systems that existed at the time            11:48:58

11    the zone scene patents were filed?

12       A    Are you saying other than the ones I listed

13    here?

14       Q    Well, you've listed manufacturers, right?

15    But do you know any actual product names or model            11:49:11

16    numbers?

17       A    Oh, product names.     Let's see if I can recall

18    any.

19            The Bose one I think was called a Lifestyle.

20    I'd have to look it up.                                      11:49:28

21            Crestron -- Crestron makes hardware and

22    software for multi-room installations, whether it's

23    board rooms or homes.      I don't know if they have a

24    specific product name.      But normally there's others.

25    A lot of the home theater receiver manufacturers,            11:49:55

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1     such as Denon -- I know that one because that was

2     the first product that Audyssey went into when we

3     first started.    It was the AVR5805, and many others

4     after that.   They all provide connectors and

5     mechanism to have multiple zones of audio in your            11:50:19

6     home.

7             Initially there was two and eventually more

8     than two, perhaps three or four.        Yamaha, Marantz,

9     Onkyo, many of those had those.

10       Q    Have you ever used a Bose Lifestyle system?          11:50:40

11       A    I have, yes.

12       Q    Do you know -- do you know which Bose

13    Lifestyle system you used?

14       A    It's been so many years, so I don't remember

15    the model number.                                            11:51:08

16       Q    Does the Bose Lifestyle 50, does that ring a

17    bell?

18       A    Possibly, but I don't remember.

19            Again, this was one of the situations where

20    we brought it into the testing lab at Audyssey just          11:51:25

21    to look at things.     So paid less attention to the

22    model number than what it could do.

23       Q    Do you recall how the Bose Lifestyle system

24    operates?

25       A    At a high level, sure, yes.                          11:51:41

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1        Q    Could you please describe how the Bose

2     Lifestyle system operates?

3        A    It has the main -- I guess I would call it a

4     processing box where you connect your audio sources.

5     So it acts as a source selector.        That box provides     11:52:03

6     outputs that go to amplifiers in it as well and

7     provides outputs that interconnect the loudspeakers.

8     In that case I believe it was a 5.1 surround system.

9     And it has an additional -- I don't know what they

10    call it -- breakout box that allows you to extend to          11:52:22

11    a different room and still be controlled by the main

12    controller.     And also it had a remote control.

13       Q    How do the loudspeakers interconnecting to

14    that central box communicate with the controller,

15    the remote controller?                                        11:52:51

16       A    The remote controller sends signals over a

17    wireless link to the main box, I guess main

18    processor.     And then it tells, you know, what each

19    speaker should be playing over the wired

20    connections.                                                  11:53:18

21       Q    Do the loudspeakers connected to the central

22    box communicate with one another?

23       A    With one another?    No.    The central processor

24    decides what to send to each one.

25       Q    In the Bose Lifestyle system can you                  11:53:40

                                                                  Page 104

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1     synchronize the loudspeakers to play audio in

2     synchrony?

3        A    Yes.

4        Q    How does the Bose Lifestyle accomplish that?

5        A    That's a Bose method inside their own                  11:54:05

6     processor.     Let's just say it wouldn't be a very

7     successful product if they played out of synchrony.

8     It would be a terrible audio system.

9        Q    Right.    But the loudspeakers don't

10    communicate with each other, right?         So how do they     11:54:25

11    coordinate with one another to play audio in

12    synchrony?

13       A    Because the central processor that is

14    deciding what to send, what signal stream to send to

15    each one makes sure that they are transmitted over             11:54:38

16    each connection in the required synchrony.

17       Q    When you say "the central processor," you're

18    talking about the central device that interconnects

19    the loudspeakers, correct?

20       A    Right.    That has a processor in it and it's          11:54:58

21    responsible for a number of things, simple things

22    like adjusting volume in response to commands that

23    it receives.     Perhaps decoding audio formats from

24    the sources that are coming in.        And then

25    distributing the audio over the interconnect.                  11:55:16

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1        Q    So the loudspeakers communicate with the

2     central processor, right, but they don't communicate

3     with one another directly, correct?

4             MR. KAPLAN:    Object to form.

5             THE WITNESS:    The loudspeakers receive data          11:55:35

6     from the central processor, but they don't

7     communicate with each other.

8     BY MR. PAK:

9        Q    Okay.   So what -- what cables are required to

10    interconnect the loud speakers to the central box or           11:55:57

11    the central processor of the Bose Lifestyle system?

12       A    These are provided by Bose.        They are copper

13    cables and they have RCA-type connections at the end

14    of each side of the cable.

15       Q    Do you know if the Bose Lifestyle system can           11:56:31

16    communicate over Wi-Fi?

17       A    I'm sure they have models that can.         That

18    particular one I don't think did.

19       Q    So the loudspeakers are internet connected to

20    the central processor or central box, right?          What     11:56:59

21    is the form of data that is transmitted between the

22    loud speaker and the central processor?

23            MR. KAPLAN:    Object to form.

24            THE WITNESS:    It's analog audio data.

25    ////

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1     BY MR. PAK:

2        Q    Does it have to be analog audio data?

3             MR. KAPLAN:     Object to form.

4             THE WITNESS:     In general or in that product?

5     BY MR. PAK:

6        Q    In that product.     In that product when a

7     loudspeaker communicates to the central processor or

8     the central box, does it send analog data or digital

9     data?

10       A    It sends analog data because the amplifiers           11:57:42

11    are inside that same box where the processor is.       So

12    the output of the amplifier is using analog audio

13    signals sent to each speaker.

14       Q    So in that product, in that Bose Lifestyle

15    system, the loudspeakers are not sending data                 11:57:59

16    packets to that central processor, correct?

17            MR. KAPLAN:     Object to form.

18    BY MR. PAK:

19       Q    Sorry.    Did you say "correct"?

20       A    Yes, correct.                                         11:58:17

21       Q    Okay.    Do you know if the Bose Lifestyle

22    system communicated over a local area network?

23       A    Communicated with what?

24       Q    Do you know if the loudspeakers

25    interconnected to the central processor could                 11:58:38

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1     communicate over a local area network?

2        A      Based on what I said this morning, that is a

3     local area network.       It's analog data going to --

4     being carried over copper wires to end devices.

5        Q      Okay.   And this Bose Lifestyle system was           11:59:06

6     unable to -- incapable of communicating over the

7     internet; is that right?

8               MR. KAPLAN:    Object to form.

9               THE WITNESS:    Because I don't remember the

10    model, I'm not sure if this -- if you could stream             11:59:35

11    to it.     It could connect to a number of sources.      I

12    just don't recall if one of them could be a wireless

13    source.

14    BY MR. PAK:

15       Q      Do you know when you used this Bose Lifestyle        11:59:52

16    system?

17       A      Probably seven or eight years ago.

18       Q      So sometime in 2013, 2012 you used this Bose

19    Lifestyle system?

20              MR. KAPLAN:    Object to form.                       12:00:13

21              THE WITNESS:    To the best of my recollection.

22    BY MR. PAK:

23       Q      Do you know when this Bose Lifestyle system

24    was released?

25              MR. KAPLAN:    Object to form.                       12:00:23

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1             THE WITNESS:    I know that their Lifestyle

2     series was released well before that.          I just -- and

3     they have more than one model.       So that was probably

4     current at the time when we looked at it, but I

5     don't know.                                                      12:00:42

6     BY MR. PAK:

7        Q    But this is the model of Bose Lifestyle

8     system that included a remote control, you said; is

9     that right?

10       A    Yes.                                                     12:00:50

11       Q    Could you describe what this remote control

12    did in the Bose Lifestyle system?

13       A    The obvious things.     Selecting the source --

14    again, this is a bit of a long time ago, but I think

15    it was change the volume and select the room.          I         12:01:14

16    think they call it multi-room in the manual or in

17    the Bose language.     So select which room you want

18    the music to play in or if it was all rooms.

19            That's my basic recollection.         There might

20    have been other things too, but I just don't                     12:01:42

21    remember.

22       Q    Do you know what the Bose Lifestyle system

23    remote control looked like?      Like what shape it

24    might have been in?

25            MR. KAPLAN:    Object to form.                           12:02:01

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1             THE WITNESS:     It had a screen -- it had a

2     screen in front of it.      It might have been

3     rectangular or oval.      I'm stretching my memory.

4     BY MR. PAK:

5        Q    I understand.     I know it's 17 years ago.      I     12:02:21

6     was just curious.

7             I want to move to paragraph 31 of your

8     declaration.      It's talking about the level of

9     ordinary skill in the art.       Could you please read

10    paragraph 31 of your declaration.                              12:02:32

11       A    Yes.

12                   "In my opinion, a person of

13            ordinary skill in the art at this time

14            would have had a bachelor's of science

15            in electrical engineering, computer                    12:02:42

16            science or engineering, or a related

17            field, and two to four years of work

18            or research experience in the field of

19            information networks, data

20            communications or multimedia systems,                  12:02:52

21            or a master's degree and one to two

22            years of experience in the same

23            field."

24       Q    Does that mean a person of ordinary skill in

25    the art can be someone with a master's degree in any           12:03:02

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1     field and one to two years of experience in the

2     fields of information networks, data communications,

3     or multimedia systems?

4        A      No.     What I meant is a master's degree in the

5     areas that I listed for the bachelor's.                           12:03:19

6        Q      Okay.     So what you -- what you meant was a

7     master's degree in electrical engineering, computer

8     science, or engineering, and one to two years of

9     experience in the fields of information networks,

10    data communications, or multimedia systems; is that               12:03:34

11    right?

12       A      Correct.

13       Q      Okay.     So as it is written right now in

14    paragraph 31, the way it's written is incorrect,

15    right?                                                            12:03:47

16              MR. KAPLAN:     Object to form.

17              THE WITNESS:     Well, I don't know if it's

18    incorrect.        I mean, I didn't want to repeat.     I know

19    that's probably customary in legal documents, but I

20    thought it was obvious that it was referring to for               12:04:02

21    bachelor's, you get your master's in the same

22    fields.

23    BY MR. PAK:

24       Q      And what are information networks?

25       A      We've talked about all kinds of examples                12:04:14

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1     today, but basically data networks.         It's -- I guess

2     in -- at least at USC, I think the -- it's an area

3     that is studied called information networks.         So I

4     think it's just different terminology for data

5     networks.                                                         12:04:42

6        Q     Are you using the term "information networks"

7     to be synonymous with "data networks"?

8        A     In this paragraph, yes.

9        Q     So an information network is any type of

10    media that carries data, right?                                   12:05:00

11       A     Well, I don't know if it's -- like if you go

12    to a network engineer and ask them what an

13    information network is, that's the answer you would

14    get.    This is more of an academic field that I was

15    referring to just because I know there are courses                12:05:17

16    listed that way.

17             So I don't know if it's a physical thing.          I

18    was just referring to it as a field of study.

19       Q     What does the field of data communications

20    include?                                                          12:05:33

21       A     Protocols for communication for exchanging

22    data.    Error correction, anything to do with

23    handling of data, analog or digital.

24       Q     What are multimedia systems?

25       A     Multimedia systems are generally considered              12:06:01

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1     processing systems with processing that can handle

2     multiple types of media, such as pictures, video,

3     audio, voice, text, haptics, all the ones that we

4     talked about earlier.

5        Q      What about an audio system that only renders         12:06:38

6     audio, is that a multimedia system?

7        A      An audio system that can't handle anything

8     else?

9        Q      Yes.

10       A      No.    I would say no.     Multi in multimedia       12:06:53

11    requires more than one.

12       Q      So if a person has a -- sorry, I didn't mean

13    to cut you off.

14       A      I'm fine.    I'm done.

15       Q      If a person has a bachelor's of science in           12:07:06

16    electrical engineering and only has experience in

17    audio systems that only render audio, but not any

18    other type of media, then that person would not

19    qualify as a person of ordinary skill in the art,

20    correct?

21       A      No, I don't agree.       I think if somebody has

22    studied multimedia systems as part of their field of

23    study, they have also studied audio and other

24    things.     So if you have taken courses in multimedia

25    systems, you certainly have taken courses in just              12:07:49

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1     audio, similar to the ones that I teach, or just

2     speech like my colleagues teach, or just video, and

3     also the integration of them.       So it comes with

4     everything.

5        Q    You know Sonos is a speaker company, right?             12:08:00

6        A    Yes.

7             MR. KAPLAN:   Object to form.

8     BY MR. PAK:

9        Q    So if a person who works at Sonos has a

10    bachelor's of science in electrical engineering and             12:08:14

11    has experience in working on speaker systems that

12    render audio but don't render video or any other

13    type of media, does that person still qualify as a

14    person of ordinary skill in the art?

15       A    That's kind of a hypothetical question.         I'd     12:08:39

16    have to meet that person and find out what their

17    experience was to really answer that.          I don't know

18    what courses they took or what experience they had

19    prior to Sonos.

20       Q    What I'm trying to get at here is the word              12:08:47

21    "multimedia systems."    You know, it seems like in

22    order to have experience in multimedia systems,

23    right, you need to -- you need a person that studied

24    a systems that render multiple types of media,

25    according to your definition, right?                            12:09:16

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1        A     Right.    But not just renders.       All aspects --

2     multimedia systems represent systems that deal with

3     the integration, whether it's on the capture side,

4     compression, streaming of these integrated media

5     types.                                                            12:09:47

6              But in order to study that, you do have to

7     study each individual one as well.          This is not

8     just -- all components have to be studied

9     individually as well.      And I assume somebody with

10    that kind of degree -- just based on the degrees we               12:10:00

11    have at USC, I can say that that's for sure the

12    case.

13       Q     What are -- what are some examples of

14    multimedia?

15             MR. KAPLAN:    Object to form.                           12:10:15

16    BY MR. PAK:

17       Q     Or let me phrase it differently.

18             What types of media -- what are some examples

19    of media types that would be categorized as

20    multimedia?                                                       12:10:28

21       A     Okay.    So we're talking about media, not

22    systems, right?

23       Q     Yes.

24       A     You know, some obvious ones are television

25    programs, picture and sound, and graphics many                    12:10:39

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1     times.     Computer games.    More boring ones like

2     PowerPoint presentations with audio or video

3     embedded in them.       Anything that has more than two

4     media.     Or two or more, I should say.

5        Q     Is a multimedia system that can render two or       12:11:11

6     more types of media other than audio, would that

7     qualify as a multimedia system?

8        A     Sure.

9        Q     So if a person has experience in implementing

10    and designing multimedia systems that don't render           12:11:38

11    audio but other types of media, is it your opinion

12    that that person would qualify as a person of

13    ordinary skill in the art?

14       A     I'm sorry.     Could you repeat that one more

15    time?                                                        12:11:50

16       Q     Yeah.     So if a person has experience in

17    implementing or designing a multimedia system that

18    doesn't render audio but renders other types of

19    media, is it your opinion that that person would

20    qualify as a person of ordinary skill in the art?            12:12:04

21       A     My assumption -- what I was trying to say

22    here was that this person has studied multimedia

23    systems.     Whether they're designing now or not is

24    different.       But if they studied multimedia systems,

25    then they certainly studied audio, voice, graphics           12:12:22

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1     and text and others, perhaps, depending on the

2     program.   So they've certainly had experience.

3        Q    Okay.     So you're assuming that if a person

4     has experience in multimedia systems, that person

5     would have experience in other types of media,               12:12:43

6     whether that's video, audio, or images, that person

7     would have experience in all of those different

8     types of media, correct?

9        A    Correct.     I wouldn't call them "other."   I

10    would call them components of multimedia.                    12:12:56

11       Q    Okay.     Let's take a look at paragraph 62 of

12    your declaration.

13       A    Yes.

14       Q    Would you please read that paragraph for me,

15    just the first two sentences.                                12:13:28

16       A

17                    "Numerous technical dictionaries

18            confirm that data," in quotations,

19            "including audio data, can be

20            represented in both analog," in                      12:13:37

21            quotes, "or digital," in quotes,

22            "form.     Digital data is," quotes,

23            "data represented in discreet

24            discontinuous form, as contrasted with

25            analog data represented in continuous                12:13:47

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1             form," end quote.

2        Q    Okay.     And then paragraph -- in paragraph 63,

3     the second sentence, it says:

4                     "In the generic sense, packets

5             refer to the manner in which data are                12:14:04

6             organized into discreet units for

7             transmission and switching through a

8             data network."

9             Do you see that?

10       A    Yes.                                                 12:14:12

11       Q    So data packets are in digital form, correct?

12       A    Data packets are, yes.

13       Q    Can data packets be in analog form?

14       A    Data can be in analog form, but it's not

15    transmitted using packets.                                   12:14:37

16       Q    Right.     So data packets are not in analog

17    form, correct?

18       A    Correct.

19       Q    Are there other discreet discontinuous forms

20    of data that are not data packets?                           12:14:53

21       A    Yes.

22       Q    What are those forms of data?

23       A    A digital audio stream that consists of bits,

24    those are not packets.      It's continuous stream of

25    bits or a digital audio stream that we talked about          12:15:17

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1     before that has been modulated through some

2     pre-agreed encoding scheme like pulse code

3     modulation.     Though those are not -- those are

4     digital streams that are not packets.

5        Q    In order to stream audio from the internet,                 12:15:44

6     from an internet media source on a speaker, does

7     that streaming audio have to be in the form of

8     packets or can it be in a continuous form of data?

9        A    If we're talking about the general purpose

10    internet, you know, it only supports packet                         12:16:32

11    protocols.     So it would have to be put in that form.

12       Q    I'd like to introduce a new exhibit here.             I

13    uploaded it and marked it as Exhibit 10.

14            (Exhibit 10 was marked for identification

15       electronically and is attached hereto.)                          12:16:55

16    BY MR. PAK:

17       Q    Let me know when you see that.

18       A    I see it.

19       Q    Do you recognize this document?

20       A    Yes.    It's the '206 patent.                               12:17:06

21       Q    I want to take a look at Column 4.          It's on

22    PDF page 16 and line 36.     It says:

23                   "As used herein, unless

24            explicitly stated otherwise, an audio

25            source or audio sources are in digital                      12:17:32

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1              format and can be transported or

2              streamed over a data network."

3              Do you see that?

4        A     I do.

5        Q     The '206 patent discusses sending and               12:17:43

6     receiving audio in digital form, correct?

7        A     Yes.

8              MR. KAPLAN:   Object to form.

9     BY MR. PAK:

10       Q     Is there anywhere in the '206 patent that           12:17:52

11    discusses sending and receiving audio data in the

12    form of -- let me -- let me rephrase that.

13             Is there anywhere in the '206 patent that

14    discusses sending and receiving audio in analog

15    form?                                                        12:18:08

16       A     That wasn't -- I'd have to go look at it

17    again.    I don't remember every word of the patent.

18    The sections that I looked at for my opinion were --

19    you know, I just looked for those things.           So I

20    would have to go look and make sure of the answer.           12:18:26

21       Q     Sitting here today, you can't recall any

22    passages in the '206 patent that discusses sending

23    and receiving audio data in analog form, correct?

24             MR. KAPLAN:   Object to form.

25    Mischaracterizes testimony.                                  12:18:43

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1               THE WITNESS:     Like I said, I don't want to

2     say I do or I don't because I don't -- I'd have to

3     go read it.        It's possible.

4               For example, I know that at Sonos there are

5     Sonos audio products that have analog inputs on the          12:18:55

6     back.     And so I just don't know if -- I just don't

7     know if there is a section in this patent since I

8     haven't looked for that specifically.

9     BY MR. PAK:

10          Q   Would it help if we take a few minutes for         12:19:17

11    you to review the patent and see if you can find any

12    passages that discuss sending and receiving audio in

13    the form of analog data?

14          A   Sure.

15          Q   Okay.     So how about we do that, take a few      12:19:29

16    minutes.

17          A   Okay.

18              THE REPORTER:     Do you want to go off the

19    record or not?

20              MR. KAPLAN:     No.                                12:19:46

21              THE WITNESS:     By doing a quick search, I

22    could find -- I could keep looking -- Column 4, line

23    65:

24                      "The device 112 is configured to

25              receive an analog audio source, e.g.,              12:20:23

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1               for broadcasting."

2               The audio sources -- Column 5 -- I'm just

3     reading from line 65 onward.         The last line there

4     says:

5                       "The analog audio sources can be           12:20:45

6               converted to digital audio sources."

7     BY MR. PAK:

8           Q   Right.     And then the next sentence says:

9                       "In accordance with the present

10              invention, the audio source may be                 12:20:58

11              shared among the devices on network

12              108."

13              Do you see that?

14          A   I do.

15          Q   So let's go back to paragraph 4 -- column 4,       12:21:07

16    line 50.     Could you please read that paragraph for

17    me.

18          A

19                      "The network 108 may be a wired

20              network, a wireless network, or a                  12:21:22

21              combination of both."

22          Q   You can keep going.

23          A

24                      "In one example, all devices,

25              including the zone players 102, 104,               12:21:32

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1             and 106, are coupled to the network by

2             wireless means, based on an industry

3             standard such as IEEE 802.11.

4                   "Another example --

5        Q    You can stop there.                                   12:21:47

6             As the patent describes, network 108 is

7     talking about an internet-based network that uses

8     industry standards such as the IEEE 802.11 standard,

9     correct?

10            MR. KAPLAN:    Objection.    Mischaracterizes the     12:22:04

11    document.

12            THE WITNESS:    I don't -- I wouldn't call this

13    internet based.    This just tells me how the

14    components are communicating, which is a wireless --

15    standard 802.11 wireless.                                     12:22:19

16    BY MR. PAK:

17       Q    And the 802.11 standard requires data to be

18    transmitted or received in digital format, correct?

19       A    Correct.

20       Q    And that data transmitted over 802.11                 12:22:33

21    standard requires data to be transmitted and

22    received in the form of data packets, correct?

23       A    Correct.

24            Referring back to your analog question, I'm

25    just seeing more sections here.        Column 6, line 3       12:22:59

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1     and 10.     Without reading them directly, it talks

2     about the ability to handle analog signals, whether

3     it's processing them from inputs and then converting

4     them to digital to share with other devices on a

5     network.     And then line 9 on the same column:              12:23:21

6                      "The audio amplifier is typically

7               an analog circuit, but powers the

8               provided analog audio signals to drive

9               one or more speakers."

10       Q      So those sentences that you point out, you          12:23:43

11    know, on Column 6 of the patent talk about

12    processing analog signals, but when that signal is

13    actually sent or received over the network, it talks

14    about producing digital signals.          So it's talking

15    about converting the analog signals to digital                12:23:56

16    signals to communicate over the network, correct?

17       A      Yes.

18              MR. KAPLAN:    Object to form.

19              THE WITNESS:    Yes.   I was just responding to

20    your question as to whether there is any mention of           12:24:06

21    analog in this.       Clearly the patent talks about

22    products that could handle connections to analog

23    input signals.

24    BY MR. PAK:

25       Q      Right.    But does this patent talk about           12:24:17

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1     sending analog data over the network, such as

2     network 108 described in the patent?

3        A    I think it does indirectly.        Because in line

4     50 that you read before, the network may be a wired

5     network.    It doesn't say that that needs to be               12:24:47

6     digital.    It could be analog.

7        Q    Well, you know, let's go back to Column 4,

8     line 36.    It says:

9                   "As used herein, unless

10            explicitly stated otherwise, when an                   12:25:03

11            audio source or audio sources are in

12            digital format, they can be

13            transported or streamed over a data

14            network."

15            Right?   So in line -- line 50 when it says            12:25:14

16    "The network 108 may be a wired network or a

17    wireless network, or a combination of both," it's

18    talking about sending data in digital format, right?

19    Unless it's stated otherwise, you have to assume

20    that you're sending or receiving data in digital               12:25:30

21    format, correct?

22            MR. KAPLAN:    Objection.    Mischaracterizes the

23    document.

24            THE WITNESS:    I don't know.      It's hard --

25    it's like the paragraph here, maybe.          I'm not          12:25:45

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1     certain about that.

2     BY MR. PAK:

3        Q     Sure.     Let me ask you this way.

4              So in line 50 in Column 4, it says:

5                      "The network 108 may be a wired                   12:25:55

6              network or a wireless network or a

7              combination of both."

8              Right?

9        A     Yes.

10       Q     Does that sentence mention analog?                        12:26:02

11       A     No.

12       Q     Okay.     Let's take a look at paragraph 64 of

13    your declaration.       So back to Exhibit 9.         It's PDF

14    page -- PDF page 23.

15             And in the middle of that paragraph, it says:             12:26:43

16                     "These networks allowed cellular

17             devices to send and receive data, as

18             Sonos requires, typically in the form

19             of voice calls."

20             Do you see that?                                          12:26:56

21       A     Yes.

22             MR. KAPLAN:     I'm sorry.    Which paragraph

23    again?

24             MR. PAK:     Paragraph 64.

25             MR. KAPLAN:     Thank you.                                12:27:08

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1              THE WITNESS:     I see it.

2     BY MR. PAK:

3        Q     Does the '206 patent discuss sending or

4     receiving audio data over a cellular or voice

5     network?                                                     12:27:19

6        A     Well, it discusses sending or receiving it

7     over wireless networks.       So that would cover all

8     kinds of wireless networks in the broadest sense,

9     right?     It doesn't exclude them.

10       Q     Can you send data over a voice network to           12:27:41

11    render audio on a device?

12       A     So because you don't have construction of

13    what a voice network is, claim construction around

14    voice network, I want to know what your definition

15    is of voice network so I can answer correctly.               12:28:14

16       Q     Right.     So earlier you said a voice network

17    would be -- like an example would be a telephony

18    network, like a public switch telephone network,

19    correct?

20       A     Correct.                                            12:28:28

21       Q     And you wouldn't send or receive audio data

22    over a public switch telephone network, would you?

23       A     Why not?     Voice is audio data basically,

24    right?     So you kind of are doing that.

25       Q     Can you have speakers connected to a public         12:28:44

                                                                 Page 127

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1     switch telephone network and send audio data to

2     render that audio data on one of those speakers?

3        A      Oh, yeah, absolutely.   Speaker phones, right?

4        Q      Do the patents disclose speaker phones?

5        A      I was just giving you an example of what you       12:29:08

6     could connect.     You can connect any kind of

7     transducer because what you're getting out is an

8     audio signal.     So if you send it to a loudspeaker,

9     it will play, and the loudspeaker can be any kind of

10    form.                                                        12:29:29

11       Q      Does the '206 patent discuss sending or

12    receiving data over a public switch telephone

13    network?

14       A      Well, as I say, it talks about sending and

15    receiving it over networks in general and it doesn't         12:29:42

16    exclude that, but it doesn't mention it specifically

17    either.

18       Q      Is a speaker phone capable of processing and

19    rendering audio data?

20       A      Yes.                                               12:30:03

21       Q      Does the '206 patent discuss sending or

22    receiving audio data via RCA cables?

23       A      The discussion we had before about connecting

24    analog sources, and I do know that some of the Sonos

25    speakers have that in the back, but that connection          12:30:30

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1     would typically be an RCA cable.           It might also be a

2     mini jack, a 1/8th inch jack or cable.

3        Q      Okay.     So let's look at the patent, Column 1,

4     line 40.     Would you please read that first sentence

5     for me.                                                           12:31:15

6        A

7                       "Currently one of the systems

8               that can meet part of such demand is a

9               conventional multizone audio system

10              that usually includes a number of                       12:31:21

11              audio players."

12       Q      Keep going.

13       A

14                      "Each of the audio players has

15              its own amplifiers and a set of                         12:31:28

16              speakers and typically installed in

17              one place, e.g., the room.        In order

18              to play an audio source at one

19              location, the audio source must be

20              provided locally or from a centralized                  12:31:41

21              location."

22              Keep going?

23       Q      No, that's okay.

24              Is there anything in this patent that

25    distinguishes those type of conventional multi-audio              12:32:07

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1     systems to what is disclosed in the patent as the

2     invention?

3               MR. KAPLAN:    Objection to form.

4     BY MR. PAK:

5           Q   Let me put it this way.      The next paragraph,     12:32:34

6     can you read the first sentence of that -- of line

7     56.

8           A

9                    "In order to achieve playing

10              different audio sources in different                 12:32:44

11              audio players, the traditional

12              multizone audio system is generally

13              either hard wired or controlled by a

14              preconfigured and preprogrammed

15              controller."                                         12:32:55

16          Q   Right.   So the patent talks about traditional

17    multizone audio systems being either hardwired or

18    controlled by a preconfigured or preprogrammed

19    controller, and it distinguishes those traditional

20    multizone audio systems from the -- from the system            12:33:13

21    disclosed in the '206 patent as the invention,

22    right?

23              MR. KAPLAN:    Object to the form.

24              THE WITNESS:    I mean, that's kind of the

25    purpose of writing the background.           What you're       12:33:49

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1     going to say after that is supposed to be better.

2     BY MR. PAK:

3        Q    Right.   So the disclosed system in the '206

4     patent that's described as the invention isn't

5     talking about these hardwired traditional multi-zone              12:34:07

6     audio systems, right?

7             MR. KAPLAN:     Object to form.

8             THE WITNESS:     Well, it doesn't completely go

9     away from it because it allows for a wired source,

10    an analog wired source to be connected to one of the              12:34:31

11    zone players and then be distributed.           So it doesn't

12    completely remove them.

13    BY MR. PAK:

14       Q    Does the patent discuss what the wired source

15    has to be, what form it has to be in?                             12:34:49

16            MR. KAPLAN:     Object to form.

17            THE WITNESS:     It gives examples at the bottom

18    of Column 4, line 66, broadcasting, which is analog,

19    compact disk, which could be digital or analog,

20    depending on what connection you have.           Yeah, those      12:35:20

21    are examples.

22    BY MR. PAK:

23       Q    All right.     So let's take a look at Column 5.

24    And I'm looking at line 33.       It says:

25                  "The wired interface 217 provides                   12:35:39

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1             network interface functions by a wired

2             means, for example, an Ethernet

3             cable."

4             Do you see that?

5        A    Yes.                                                   12:35:46

6        Q    So the patent discloses that the wired

7     network can be an Ethernet cable, right?

8        A    That's a different network than the one that

9     connects -- this is not for connecting sources.

10    This is for connecting speakers together to -- could           12:36:07

11    be wired or wireless.      The previous discussion was

12    about what kind of sources.

13       Q    Right.    So this is talking about the wired

14    interface of a zone player, correct?

15            MR. KAPLAN:    Object to form.                         12:36:36

16            THE WITNESS:    Yes.   This is talking about how

17    to connect multiple zone players, in this case,

18    speakers, whether they're wired or wireless.         They

19    provide capability for both.

20    BY MR. PAK:                                                    12:36:54

21       Q    So let's talk about the zone player.        So the

22    zone player has network interface -- so a zone

23    player has a network interface 202, which may

24    include one or both of the wireless interface 216

25    and a wired interface 217, right?                              12:37:17

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1        A     Yes.

2        Q     Okay.     And specifically the wired interface

3     217 provides network interface function by wired

4     means, for example, an Ethernet cable, correct?

5        A     Correct.     And this is why I was talking about        12:37:39

6     the introduction before.       It seems to contradict the

7     benefit because they say that the old systems were

8     all wired and so they're no good.          But now they also

9     provide capability for wired.         So it's just a

10    different type of wire, I suppose.                               12:37:55

11       Q     As you recall, did these traditional

12    multizone audio systems include speakers that were

13    connected via an Ethernet cable?

14       A     No.     That's what I'm saying.      They were

15    connected by copper RCA cables or speaker cables                 12:38:16

16    directly.

17             So this is a different kind of cable, but

18    still the possibility existed of speakers in

19    different zones or rooms that are connected by

20    wires.    Just a different kind of wire.                         12:38:31

21       Q     What is the difference between an Ethernet

22    cable and a copper wire such as an RCA cable?

23       A     I guess Ethernet cables are also made of

24    copper, but they have different kinds of endings and

25    they have multiple strands in them carrying data.                12:39:06

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1     So I guess I would consider an Ethernet cable

2     capable of carrying digital packet data, whereas an

3     audio interconnect carries analog audio data.

4        Q    So an RCA cable carries analog data, whereas

5     an Ethernet cable carries digital data packets,                   12:39:38

6     correct?

7        A    To be totally clear, analog cables -- sorry,

8     RCA cables can also carry digital data.              Just not

9     packetized.

10       Q    Okay, that makes sense.                                   12:39:54

11            I want to take a look at paragraph 66 of your

12    declaration.

13       A    Yes.

14       Q    Let me get to it real quick.         The second

15    sentence of paragraph 66 says:                                    12:40:21

16                    "There are many types of networks

17            that do not require a network device

18            to both send and receive data from

19            another device.     For example, networks

20            may be configured in a ring such that                     12:40:31

21            no device both sends and receives data

22            directly to and from another device."

23            Do you see that?

24       A    Yes.

25       Q    Okay.     So let's take a look at Sonos's                 12:40:43

                                                                      Page 134

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1     proposed construction on page 21 of your

2     declaration.      Could you please read Sonos's

3     construction for data network.

4        A

5                     "A medium that interconnects the               12:41:00

6             devices enabling them to send data

7             packets to" --

8             I'll start over.

9                     "A medium that interconnects

10            devices, enabling them to send digital                 12:41:09

11            data packets to and receive digital

12            data packets from each other."

13       Q    Does Sonos's proposed construction of data

14    network require sending and receiving data directly

15    to and from another device?                                    12:41:26

16            MR. KAPLAN:     Object to form.

17            THE WITNESS:     I guess I'm not sure what

18    "directly" means in this context.         We're connecting

19    two devices.

20    BY MR. PAK:                                                    12:41:45

21       Q    So let me ask you this way.         Does the word

22    "directly" appear in Sonos's proposed construction?

23       A    It does not.

24       Q    Okay.     So Sonos's construction of data

25    network does not require sending and receiving data            12:41:56

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1     directly to and from another device, correct?

2             MR. KAPLAN:     Object to form.

3             THE WITNESS:     I don't know how else to

4     interpret this.     It says, "sending and receiving

5     from each other."      So unless there is something in          12:42:10

6     between that is not disclosed, what else could it

7     be, right?

8     BY MR. PAK:

9        Q    Right.    So Sonos's construction of the data

10    network is broad enough to cover directly or                    12:42:19

11    indirectly sending and receiving data, correct?

12            MR. KAPLAN:     Object to form.

13            THE WITNESS:     Right, that's true.         But my

14    construction, though, was not really focused around

15    the directly part.      It was that a data network, as          12:42:43

16    we've already discussed since this morning, doesn't

17    have to be digital packets.

18    BY MR. PAK:

19       Q    Right.    But let's look at paragraph 66 again.

20    And it says:                                                    12:43:00

21                   "For example, networks may be

22            configured in a ring such that no

23            device both sends and receives data

24            directly to and from another device."

25            Right?    But Sonos's construction doesn't say          12:43:11

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1     or doesn't require direct -- directly sending and

2     receiving data, right?

3             MR. KAPLAN:    Object to form.

4             THE WITNESS:    The intent of this sentence

5     that I wrote here was that "directly" is kind of a           12:43:38

6     substitution for each other.      Because obviously in a

7     network, in a ring network, devices are sending data

8     and they're receiving data.      But it's not a send and

9     receive between two devices.      And that's what I

10    meant by "directly" here.     I didn't imply there was       12:43:54

11    nothing in between.

12    BY MR. PAK:

13       Q    So -- sorry.

14       A    No, no.

15       Q    So in that -- so if a network is configured          12:44:03

16    in a ring, you'd agree with me that a device can

17    both send and receive data to and from each other?

18       A    No.   Because to and from each other means you

19    have two devices and they're talking back and forth.

20    And in a ring network, one device will send to the           12:44:27

21    next.   If it has the token, it will -- let's say

22    it's clockwise orientation and it will send to the

23    next one and receive from the one before it.        So

24    it's sending and receiving two different devices,

25    not a two-way communication.                                 12:44:50

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1        Q      What is a token ring network?

2        A      It's a set of devices connected in a network

3     that is -- as I described, think of a circle with

4     multiple points in it.       Each of those is a network

5     device.     The protocol is such that to avoid what                12:45:12

6     network people call collisions, which is when a

7     bunch of data tries to arrive at the same time, to

8     avoid that they use traffic police kind of system

9     where you can't talk unless you've been told to talk

10    because you have the token.       And so data goes around          12:45:36

11    in circles.      It can be clockwise.     It can be

12    counterclockwise.      And sometimes it's a star

13    configuration where there's a -- literally a central

14    node and everybody communicates through, or

15    sometimes it's a controller.       So it's a different             12:45:51

16    configuration for a network topology.

17       Q      I'd like to introduce a new exhibit here.          I

18    uploaded a new exhibit marked as Exhibit 11.

19              Do you see that?

20       A      Yes.   I'm waiting for it to open.         I see it.     12:46:21

21              (Exhibit 11 was marked for identification

22       electronically and is attached hereto.)

23    BY MR. PAK:

24       Q      Do you recognize this document?

25       A      Yes.                                                     12:46:33

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1        Q      This was attached as Appendix L to

2     Dr. Schmidt's declaration, and you reviewed this

3     document, right?

4        A      I did, yes.

5        Q      I want to take a look at the last page, PDF        12:46:42

6     page 6.

7               Do you see the token ring network

8     configuration at the bottom left?

9        A      I see it.

10       Q      So in this token ring network configuration,       12:46:56

11    can a given device send data to or receive data from

12    another device?

13       A      Yes, but not from the same device in both

14    directions.

15       Q      Okay.     And in the last sentence below that      12:47:17

16    configuration, it says:

17                      "Any PC can grab a passing token

18              and attach data and the address of

19              another PC to it, as each PC in turn

20              watches for tokens that are addressed              12:47:41

21              to it."

22              Right?

23       A      Yes.

24       Q      So you're saying in this configuration --

25    let's pick one example.        There's five PCs, right?      12:48:10

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1        A    Yes.

2        Q    Let's look at the top right PC.         So this top

3     right PC can receive data from one of these PCs,

4     correct?

5        A    Assuming that the token protocols were                  12:48:32

6     followed, yes.

7        Q    From what devices can this PC receive data

8     from?

9        A    From whichever device decided to address the

10    token to that PC.                                               12:48:56

11       Q    So it can be any one of the four other

12    devices on this token ring network, correct?

13       A    It can, although you'll have to -- if it's

14    the one next to or below to the right, it would have

15    to wait a while until it gets there because it has              12:49:19

16    to go through all the other ones.        But yes.

17       Q    So can that PC on the top right transmit data

18    to any of the four other PCs in the token ring

19    network?

20       A    Again, yes, if it decides it wants to                   12:49:36

21    transmit to one of them and puts that information on

22    the token and addresses it to that PC, yes, it can

23    do that.

24       Q    Okay.    And I want to go back to your

25    declaration now, looking at paragraph 67.           On page     12:49:53

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1     24.

2           A   Yes.

3           Q   It says:

4                       "Various publications also

5               confirm that unidirectional data                      12:50:08

6               networks were well known in the art."

7               And you relied on U.S. patent

8     No. 6,081,907.

9               Do you see that?

10          A   I do.                                                 12:50:19

11          Q   And you would have to go to the electronic

12    exhibit, because I want to look at PDF page 157.

13          A   Okay.     That was Exhibit 9?

14          Q   Yes, correct.

15              MR. KAPLAN:     Which PDF page?                       12:50:51

16              MR. PAK:     PDF page 157.

17              THE WITNESS:     I'm looking for an easier way

18    besides scrolling.

19              MR. KAPLAN:     I don't know that there is.

20              THE WITNESS:     I'm almost there.       Okay.        12:51:30

21              Wait.     I'm sorry.   Are we talking about the

22    monthly unique users graph?

23    BY MR. PAK:

24          Q   No.     Hold on one second.     I'm putting it in

25    the chat right here.                                            12:51:56

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1             MR. KAPLAN:     157 for me is the '907 patent.

2             THE WITNESS:     Oh, I had 57.      Okay.

3     BY MR. PAK:

4        Q    There's a little scroll controls you can --

5        A    Yeah.                                                12:52:13

6        Q    Yeah.

7        A    Okay.     I see it.

8        Q    Okay.     And this is a copy of the '907 patent

9     provided as an exhibit to your declaration, right?

10       A    Yes.                                                 12:52:36

11       Q    Okay.     And I want to go down to PDF page 165.

12    And I want to focus on the background section of the

13    '907 patent.

14       A    Okay.

15       Q    Okay.     And the first paragraph of the             12:52:58

16    background section says:

17                    "Conventional computer networks

18            are bidirectional, allowing data

19            communication in both directions

20            between servers and clients.                         12:53:08

21            Transmitting data over these

22            bidirectional data networks has been a

23            mainstay of computer technology for

24            many years and the communication

25            protocols are well established."                     12:53:20

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1             Do you see that?

2        A    Yes.

3        Q    All right.     And the third paragraph in the

4     background section, could you actually read that

5     paragraph for me.                                            12:53:31

6        A

7                     "Apart from the classic

8             bidirectional data networks, there is

9             an increasing interest in the use of

10            broadcast or multicast networks to                   12:53:40

11            deliver computer data and other

12            content to clients.      These types of

13            distribution networks are

14            unidirectional in that data flows from

15            the server to the clients, but no                    12:53:50

16            return communication is possible over

17            the same communication path."

18            More?

19       Q    That's okay.

20            So the '907 patent actually distinguishes the        12:54:03

21    classic bidirectional data network from a

22    unidirectional broadcast or multicast network,

23    correct?

24       A    Yes.

25            MR. KAPLAN:     Object to form.                      12:54:17

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1     BY MR. PAK:

2        Q    Okay.     Let's take a look at Column 3, the

3     second paragraph.      It says:

4                     "The bidirectional data network

5             28 represents various types of                       12:54:33

6             networks, including the internet, a

7             LAN, local area network, a WAN, wide

8             area network, and the like."

9             Do you see that?

10       A    I do.                                                12:54:46

11       Q    In the next paragraph it says:

12                    "The broadcast center 26 receives

13            the data served from the content

14            servers 22(l) through 22(K) over the

15            network 28, and broadcasts the data                  12:55:02

16            over a broadcast network 30 to the

17            clients 24(l) through 24(M)."

18            Do you see that?

19       A    I do.

20       Q    Now, if you look at Figure 1 of the '907             12:55:15

21    patent, and it's PDF page 158, you see there's a

22    separate bidirectional data network 28 and a

23    broadcast network 30, right?

24       A    28 and 30, yes, I see it.

25       Q    So you'd agree with me that the bidirectional        12:55:45

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1     data network 28 and broadcast network 30 in the '907

2     patent are different networks, right?

3             MR. KAPLAN:    Object to form.

4             THE WITNESS:    That's what is shown in this

5     diagram.    They're showing an example that has both         12:56:11

6     in there.

7     BY MR. PAK:

8        Q    As shown in Figure 1, you'd agree that data

9     network 28 is bidirectional, whereas the broadcast

10    network 30 is unidirectional, correct?                       12:56:24

11       A    Yes, that's what is being disclosed.

12       Q    Is there anywhere in the '907 patent that

13    mentions that broadcast network 30 is a data

14    network?

15            MR. KAPLAN:    Object to form.                       12:56:43

16    BY MR. PAK:

17       Q    And we can take a minute if you need a minute

18    to review the patent.

19       A    Yeah, let me take a minute.

20            So Column 3, line -- the paragraph that              12:57:30

21    starts at line 33, it says:

22                  "The broadcast network 30 can be

23            implemented in a variety of ways.           For

24            instance, the broadcast network might

25            be implemented as a wireless network                 12:57:55

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1             configured for one-way transmission,

2             i.e., satellite, radio, microwave

3             et cetera.     The broadcast network

4             might also be a network that supports

5             two-way communication, but is                        12:58:08

6             predominantly used for unidirectional

7             multicasting from the broadcast center

8             26 to many clients simultaneously."

9        Q    So in that sentence, does the patent use the

10    word "data network"?                                         12:58:29

11       A    Well, as we've said before several times,

12    wireless networks that transmit data are data

13    networks.   And so it doesn't say data network when

14    it talks about ATM or Ethernet or anything else.

15    These are all data networks.                                 12:58:54

16       Q    Why does the patent use the term "data

17    network" when it describes data network 28, but

18    doesn't use the term "data network" when it talks

19    about broadcast network 30?

20            MR. KAPLAN:     Object to form.                      12:59:09

21            THE WITNESS:     I don't know what they had in

22    mind in their language to write it that way, but --

23    I don't know.    I can't answer why they said it that

24    way.

25    ////

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1     BY MR. PAK:

2        Q    Let's look at Column 4 of the '907 patent.

3     If you look at line 22 --

4        A    Yes.

5        Q    It says:                                             12:59:45

6                    "The packet encoder 52

7             encapsulates packets of data with

8             appropriate headers for transmission

9             over the data network and broadcast

10            network."                                            12:59:57

11            Do you see that?

12       A    Yes.

13       Q    So this patent discloses that the

14    bidirectional data network 28 and the broadcast

15    network 30 both transmit data in the form of data            01:00:12

16    packets, right?

17       A    I can indirectly assume that based on this

18    sentence.

19       Q    Do you see any disclosure in the '907 patent

20    where data that is transmitted over the data network         01:00:33

21    or the broadcast network is not in the form of data

22    packets?

23            MR. KAPLAN:    If you need to review the

24    patent, you can.

25    BY MR. PAK:

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1           Q     Sure.     Take a minute if you need a minute to

2     review.

3           A     I think it goes back to Column 3, the

4     paragraph that I was reading before, line 33 --

5     actually, line 36 where it gives examples.                             01:00:59

6     Satellite, radio, and microwave.             What we talked

7     about before, satellite may or may not be data.                But

8     radio and microwave is -- may not be data packet,

9     but radio and microwave are most likely not packet

10    based.       So it's certainly possible the way they                   01:01:25

11    wrote it.

12    BY MR. PAK:

13          Q     Let's take a look at the figures here.        And I

14    want to take a look at Figure 4.             Let me see if I

15    can find the description for it.                                       01:01:58

16                Actually, let's take a look at Column 5, line

17    35.       The paragraph says:

18                        "Figure 4 shows exemplary steps

19                in a method for serving data packets

20                over the unidirectional network."                          01:02:21

21                Do you see that?

22          A     Yes.

23          Q     So Figure 4 is describing a method specific

24    to transmitting data packets over broadcast network

25    30, right?                                                             01:02:35

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1             MR. KAPLAN:     Object to form.

2             THE WITNESS:     It's describing a method, but

3     not all the methods, right?       Because we talked about

4     other possibilities.      In this paragraph it's a

5     method, yes.                                                  01:02:47

6     BY MR. PAK:

7        Q    And then Column 6, line 15, it says:

8                    "Figure 5 shows the byte-wise

9             technique for generating a redundancy

10            packet from multiple data packets                     01:03:25

11            within a redundancy group."

12            Do you see that?

13       A    I'm sorry.     I heard it, but I missed which

14    paragraph we're in.

15       Q    Column 6, line 15.                                    01:03:37

16       A    Yes, I see it.

17       Q    So Column 5 again is describing a certain

18    technique for generating packets, right?             Data

19    packets?

20            MR. KAPLAN:     Object to form.                       01:03:54

21            Do you mean Figure 5?

22    BY MR. PAK:

23       Q    Yeah, I'm sorry.     Let me rephrase.

24            Figure 5 is illustrating a specific technique

25    for generating data in the form of data packets,              01:04:09

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1     right?

2        A     In this paragraph it's talking about a

3     specific aspect of it, aspect of the redundancy

4     formatter, I think is what they're talking about

5     here.                                                            01:04:35

6        Q     Right.     But, generally speaking, Figure 5 is

7     talking about data packets, correct?            It's talking

8     about data in the form of data packets.

9              MR. KAPLAN:     Object to form.

10             THE WITNESS:     It is.   I'm just looking a            01:04:50

11    little further down where it says it's illustrative

12    for example purposes.       "Other computations may be

13    used" -- this is line 30 of the same column.

14             So there are examples that involve packets, I

15    agree with that.       But they're also saying there are         01:05:20

16    other ways.

17    BY MR. PAK:

18       Q     Okay.     And then Column 7, second paragraph,

19    it says:

20                     "Figure 6 shows an exemplary data               01:05:31

21             structure 110 for data packet formed

22             by packet encoder 52 and redundancy

23             formatter 54."

24             Do you see that?

25       A     I see it.                                               01:05:42

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1        Q    So we have Figure 4 is also talking about

2     data packets, right?

3        A    Figure 6, you mean?

4        Q    I'm sorry.     So Figure 6 is also talking about

5     data packets, right?                                            01:06:02

6        A    Yes, it is.     It's showing the structure.     If

7     you have data packets, this is what they should look

8     like.

9        Q    And the top of column 8, it says:

10                   "Figure 7 shows exemplary steps                  01:06:12

11            in a method for receiving data packets

12            transmitted over a unidirectional

13            network."

14            Do you see that?

15       A    Yes.                                                    01:06:20

16       Q    So Figure 7 is talking about data packets,

17    correct?

18       A    Yes.

19       Q    So are there any figures in the '907

20    patent -- in the '907 patent that doesn't talk about            01:06:32

21    data packets?

22            MR. KAPLAN:     Object to form.

23            THE WITNESS:     My reference to this patent was

24    not to address the data packet or not issue.         It was

25    to address unidirectional and bidirectional and                 01:06:55

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1     possible coexistence.

2             So, no, I don't see any figure -- the figures

3     are focusing on byte patterns and headers and packet

4     related stuff.     But, again, this was not my purpose

5     for quoting this patent.                                            01:07:24

6             MR. PAK:    Okay.    I want to transition away

7     from discussing data networks and talk about some of

8     the other terms in your declaration.             Do you want to

9     take another break or just power through it?

10            Why don't we take a break and come back in                  01:07:47

11    ten minutes.     Is that okay?

12            THE VIDEOGRAPHER:       Does anybody need more

13    time than that?

14            We can go off the record.          We're off the

15    record at 1:07 p.m.                                                 01:07:55

16            (Lunch recess.)

17            THE VIDEOGRAPHER:       We are on the record at

18    1:43 p.m.

19    BY MR. PAK:

20       Q    So far we talked about various examples of                  01:43:32

21    data networks and local area networks.             And I just

22    want to run by one more example with you to further

23    understand what local area network means to a person

24    of ordinary skill in the art.

25            So the question here is, if -- if someone                   01:43:49

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1     used two cups on a string to communicate with

2     another person, does that amount to communicating

3     over a local area network?

4        A    I thought we covered this in the morning.

5        Q    Yeah, we --                                               01:44:01

6        A    I think we talked about it --

7        Q    Yeah, in the context of data network, but we

8     haven't talked about it in the context of a local

9     area network.

10       A    I mean, honestly, don't take it personally.               01:44:10

11    It's a little bit of a silly example, over a string,

12    but I guess if we -- if we use the definition that a

13    person would use for networks, this is taking

14    acoustic data and converting it to mechanical form

15    and then -- to transmit, and then converting it back              01:44:40

16    to acoustical at the other end.        So in that sense,

17    it is a data network.

18            The criteria I use for whether it's a local

19    area network is you have to have something to

20    compare it to.    So stretching the string out to a               01:45:00

21    much larger area would produce a wider area string

22    network, and this would be a local area network.           So

23    I think all those definitions are consistent.

24       Q    So communicating using a string, two cups on

25    a string, would amount to a local area network in                 01:45:28

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1     your opinion?

2             MR. KAPLAN:    Objection.     Mischaracterizes

3     testimony.     Asked and answered.

4             THE WITNESS:    Local -- the word "local" only

5     makes sense if there's something else to compare it             01:45:43

6     to that is bigger or smaller.

7             And so, as I say, if there's a larger

8     distance with bigger string, that would be a wide

9     area network on a string and then this would be

10    called local if it was a smaller one.          But by           01:45:58

11    itself, it's hard to say because you need a

12    comparison.

13    BY MR. PAK:

14       Q    Right.    So depending on the length of the

15    string that connects the two cups, right, someone               01:46:08

16    that uses two cups on a string to communicate with

17    another person, that would amount to communicating

18    over a local area network, correct?

19            MR. KAPLAN:    Same objections.

20            THE WITNESS:    Well, I guess same answer.       It     01:46:24

21    depends.     There's no -- there's no length of the

22    string that would be -- there's no size of the -- of

23    an actual LAN that we can say if you go past this,

24    you're no longer local area.        It's -- as we saw,

25    LANs cover from a building to a hotel to a campus to            01:46:44

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1     a wide area complex.

2               Same for this.     It's a local area network

3     compared to something that is a longer distance, for

4     example, but I can't give you a number.

5     BY MR. PAK:                                                            01:47:03

6        Q      Sure.     But if the string is -- so you're

7     saying that depending on the length of the string,

8     communicating using two cups attached to that string

9     can either be a local area network or a wide area

10    network then, correct?                                                 01:47:18

11       A      Yeah, sure.

12       Q      Okay.     So I want to go on to talk about the

13    media particular playback system term.             And if you

14    take a look at paragraph 58 of your declaration.                So

15    we're going back to Exhibit 9.                                         01:47:39

16       A      Yes.

17       Q      Would you please read paragraph 58 for the

18    record.

19       A      Yes.

20                      "I disagree with Dr. Schmidt that                    01:47:51

21              a POSITA would understand the media

22              particular playback system of Claims

23              3, 15 or 26 to mean media playback

24              system.     I have reviewed the

25              prosecution history, but find that it                        01:48:04

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1             does not resolve the debate relating

2             to the use of the term 'particular.'"

3        Q    Okay.   So I want to take a look at the

4     prosecution history of the 615 patent.           And just

5     give me a minute to introduce the exhibit.                    01:48:18

6             Okay.   So I've just uploaded here an exhibit

7     marked as Exhibit 12.

8             Do you see that?

9        A    Yes.

10            (Exhibit 12 was marked for identification

11       electronically and is attached hereto.)

12    BY MR. PAK:

13       Q    Do you recognize this document?

14       A    Yes.

15       Q    Okay.   So this is Appendix N of Dr. Schmidt's        01:48:56

16    declaration, right?

17       A    Yes.

18       Q    You know, before we get into his response,

19    you know, just generally speaking, why do you think

20    an applicant would amend its claims during                    01:49:14

21    prosecution?

22            MR. KAPLAN:     Object to form.

23            THE WITNESS:     This sounds like a legal

24    question to me.

25            I don't know.     Because of an error, because        01:49:40

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1     of additional facts, a response to the examiner.

2     Those are some reasons I can think of.

3     BY MR. PAK:

4        Q    Can you think of any other reasons why an

5     applicant would amend its claims during prosecution?           01:49:57

6             MR. KAPLAN:     Object to form.

7             THE WITNESS:     No.

8     BY MR. PAK:

9        Q    Well, look at this office action response.

10            Do you think the applicant here amended its            01:50:21

11    claims to overcome the cited references?

12       A    It's hard for me to speak on behalf of the

13    applicant, the reasons that they had.           I can only

14    speak as to, you know, what I see written here.

15            Is there a specific section you want me to             01:50:51

16    look at?

17       Q    Yeah, so how about we take a look at the

18    remarks on PDF page 15.

19       A    Okay.

20       Q    All right.     Again, the summary of the office        01:51:10

21    action, it says:

22                    "In the non-final office action

23            mailed July 15, 2016, the examiner

24            rejected Claims 1, 6 through 10, 15

25            through 19, and 21 through 29 under                    01:51:22

                                                                   Page 157

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1             pre-AIA 35 U.S.C. Section 1038, as

2             being allegedly unpatentable over

3             DaCosta in view of Dua."

4             Do you see that?

5        A    I see it.                                            01:51:39

6        Q    And there are some other, you know, 103

7     rejections with respect to Claims 3, 12 and 20,

8     correct?

9        A    Yes.

10       Q    Okay.     And then looking at Section 3, the         01:51:46

11    response to the 103 rejections, the second sentence

12    says:

13                    "For at least the reason that

14            cited references do not teach the

15            subject matter currently recited by                  01:52:11

16            applicant's claims, the pending 103

17            rejections should be withdrawn."

18            Do you see that?

19       A    I see it.

20       Q    Okay.     And let's take a look at Claim 1 on        01:52:21

21    PDF page -- PDF page 3.

22            Do you see that the applicant amended

23    Claim 1, right?

24       A    Is this the paragraph numbered 2?

25       Q    I'm taking -- I'm looking at the amendments          01:52:53

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1     to the claims on PDF page 3.

2        A    Oh, sorry, 3.

3             I see it, yes.

4        Q    Do you think the applicant here amended

5     Claim 1 to overcome the cited references?                    01:53:05

6        A    So I probably looked through the cited

7     references, but I don't have them at the tip of my

8     tongue at the moment to be able to answer that

9     accurately.

10       Q    Okay.   Did you review any of the cited              01:53:26

11    references?

12       A    I read through them.     I wouldn't say that I

13    reviewed them in the same way that I reviewed the

14    patents.

15       Q    Okay.   So, again, I want to -- how about I          01:53:41

16    introduce one of the cited references and discuss

17    that.   Just give me a minute.

18            I just uploaded an exhibit and marked it as

19    Exhibit 13.

20            Do you see that?                                     01:54:24

21       A    Yes.

22            (Exhibit 13 was marked for identification

23    electronically and is attached hereto.)

24    BY MR. PAK:

25       Q    Do you recognize this document?                      01:54:35

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1        A     I do.

2        Q     Okay.     And this is one of the patent

3     publications that was cited in the non-final office

4     action mailed July 25th, 2016.         Correct?

5        A     Yes.                                                01:55:06

6        Q     Okay.     And you reviewed this reference,

7     right?

8        A     As I said, I read through it but mostly

9     looked at the comments.       So I didn't review it in

10    the same way that I would review an actual patent in         01:55:21

11    this case, but I -- I'm familiar with it.

12       Q     Sure, that's fair.

13             I want to take a look at paragraph 57, so on

14    PDF page 24.       Would you please read the second

15    sentence in paragraph 57.                                    01:55:47

16       A     The second sentence?

17       Q     Yes.

18       A     Okay.

19                     "The term 'media player'

20             generally refers to electronic devices              01:56:04

21             that are capable of processing media

22             such as audio, video, images,

23             presentations, animation, and internet

24             content, for example, cellular phones,

25             personal digital assistants (PDAs),                 01:56:17

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1             music players, game players, video

2             players, cameras and the like."

3        Q    Okay.     And I want to skip to paragraph 142

4     now.   It's on PDF page 32.

5        A    Yes.                                                     01:56:41

6        Q    Would you please read that first sentence on

7     paragraph 142.

8        A    Yes.

9                     "Finally, the device's media

10            processing capabilities 461 are listed                   01:56:47

11            in the RFID transmission data 450.

12            This is" --

13       Q    Actually, please keep going.         Read the second

14    sentence.

15       A                                                             01:56:58

16                    "This information indicates the

17            device's ability to process media

18            assets that are in specific formats."

19       Q    Okay.     And the patent further discusses some

20    example media formats, correct?                                  01:57:11

21       A    Correct.

22            MR. KAPLAN:     Object to form.

23            THE WITNESS:     It does.

24    BY MR. PAK:

25       Q    And looking at paragraph 143, could you                  01:57:18

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1     please read the first sentence.

2        A

3                     "This type of information allows

4             media player 100 to only transmit

5             media assets which are supported by                  01:57:28

6             the target devices."

7        Q    Would you please read the second sentence in

8     full.

9        A    Oh, sure.

10                    "This information also                       01:57:38

11            allows either or both of the target

12            device and media player 100 to convert

13            media assets into supported formats

14            before transmission to the other when

15            required."                                           01:57:59

16       Q    Okay.     So based on, you know, these -- this

17    disclosure that we -- that I just had you read, do

18    you agree that Dua disclosed a media player that can

19    play particular media formats?

20       A    Yes.                                                 01:58:20

21       Q    Do you agree that Dua disclosed a media

22    player that can play particular types of media?

23       A    They disclosed a --

24            MR. KAPLAN:     Object to form.

25            THE WITNESS:     They disclosed a -- the ability     01:58:33

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1     to play back multiple different types of media.

2             I think that's what you're asking, yes?

3     BY MR. PAK:

4        Q    Right.   So just to clarify, so does -- do you

5     agree Dua discloses a media player that can play             01:58:48

6     particular types of media?

7             MR. KAPLAN:     Object to form.

8             THE WITNESS:     I guess I'm trying to

9     understand how you're using the word "particular"

10    here.                                                        01:59:13

11            It's -- they list a number of media by

12    example, but it's not clear to me that they're

13    excluding others.      So I'm not sure how to answer

14    that.

15    BY MR. PAK:                                                  01:59:27

16       Q    Yeah, so let me reword this.

17            Does Dua disclose a media player that can

18    play audio?

19       A    Yes.

20       Q    Does Dua disclose a media player that can            01:59:39

21    play video?

22       A    Yes.

23       Q    So Dua discloses a media player that can play

24    any particular type of media, right?

25            MR. KAPLAN:     Object to the form.                  01:59:55

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1             THE WITNESS:     Well, under audio, they list

2     specific formats for that audio, but not all

3     possible.      So I think "any" might be too broad

4     because they don't list -- it's hard to say.

5     BY MR. PAK:                                                    02:00:11

6        Q    All right.     But Dua discloses a media player

7     that can play different types of multimedia, right?

8        A    Right, different types of audio, different

9     types of video, and graphics.

10       Q    Okay.     So now let's go back to the office           02:00:32

11    action response, Exhibit 12.

12            And I want to take a look at Claim 3.          And

13    it's on PDF page 4.

14            Do you see that?

15       A    Yes.                                                   02:00:59

16       Q    What amendments did the applicant make to

17    Claim 3?

18            MR. KAPLAN:     Object to form.

19            THE WITNESS:     I'm sorry, Claim 3, PDF page 4

20    starts -- is a half paragraph.        No, no, sorry.           02:01:15

21    BY MR. PAK:

22       Q    Yeah, so Claim 3, you know, starts from PDF

23    page 4 and ends at PDF page 5, right?

24       A    Yes.

25       Q    Okay.     So what -- so looking at the                 02:01:33

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1     amendments to Claim 3, could you please walk through

2     all the amendments the applicant made in this office

3     action response.

4             MR. KAPLAN:    Objection.    The document speaks

5     for itself.                                                  02:01:50

6             THE WITNESS:    I assume it's the underlined

7     words of the amendment.

8     BY MR. PAK:

9        Q    Yeah.    So, you know, I'm not trying to trick

10    you here.     So the underlined -- the underlined words      02:01:59

11    represent words that were added.

12       A    Okay.

13       Q    And the strike -- and the strike through

14    represents terms, phrases that were deleted.

15            So I really just want, you know, to go over          02:02:14

16    all the amendments.     You know, can you walk through

17    what amendments were made.

18       A    Sure.    So they added the word "particular" in

19    several places.     "Particular playback device."

20    "Media particular playback system."                          02:02:36

21            And then "wherein the first zone includes the

22    particular playback device."

23            So all the additions have to do with

24    "particular" except for the last one that they

25    added, "playing back multimedia content in                   02:02:55

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1     synchrony."

2              And then they removed "initiating playback"

3     in two locations.

4        Q     Okay.   So looking at the amendments to

5     Claim 3, do you agree that the applicant added the            02:03:13

6     word "particular" in front of the word "playback"

7     throughout Claim 3?

8        A     Yes, except for one location, second to the

9     last line.

10             MR. KAPLAN:    Object to form.                       02:03:34

11             THE WITNESS:    Actually in a couple places.

12    It's not every "playback" that has "particular."

13    It's selective.     The word "particular" was not added

14    in front of every time "playback" appears.           Only

15    some.                                                         02:03:53

16    BY MR. PAK:

17       Q     Well, the word "particular" was -- all right,

18    I see.

19             So where it says "at least one additional

20    playback device," you're saying it doesn't say "at            02:04:02

21    least one additional particular playback device."

22    Is that right?

23       A     Oh, that wasn't the only -- the second to

24    last line of the previous page, where it says

25    "control playback by the playback device," they did           02:04:22

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1     not add the word "particular" there.

2        Q     Is "media playback system" a broader term

3     than "media particular playback system"?

4        A     That's --

5              MR. KAPLAN:    Object to form.                         02:04:41

6              THE WITNESS:    That's the part that was

7     difficult to ascertain.      So that is one way to

8     interpret that, that it plays back only particular

9     media.

10             The other one is that there's all kinds of             02:04:56

11    playback systems, and I provided an example.         It

12    plays -- records and plays back other kind of data

13    that is not media.      And this would be particular to

14    media.

15             So it can be particular to all kinds of                02:05:08

16    media, particular to one media, or a typographical

17    error, as was indicated by Sonos.         I couldn't tell

18    which of those three -- and there may be others.

19    And that was the reason for my opinion.

20    BY MR. PAK:                                                     02:05:26

21       Q     Sure.   So before Claim 3 was amended in this

22    office action response, do you think Claim 3 was

23    indefinite?

24             So, you know, let me ask it this way.       Do you

25    think Claim 3 was indefinite before the applicant               02:05:42

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1     amended "media playback system" to "media particular

2     playback system"?

3             MR. KAPLAN:    Object to form.      Scope.

4             THE WITNESS:    So are you asking if I had read

5     this without the word "particular" in the amendment,         02:06:05

6     would I still have the same opinion?          Is that --

7     BY MR. PAK:

8        Q    Yeah.    So, you know, before this claim was

9     amended, right, you know, it used the term "media

10    playback system" instead of "media particular                02:06:19

11    playback system," right?

12       A    Right.

13       Q    So before Claim 3 was amended to use --

14    amended to use "media particular playback system,"

15    would a person of ordinary skill in the art                  02:06:35

16    understand Claim 3?     That's what I'm trying to ask.

17       A    Right.    Probably.   Although I'm kind of

18    reforming an opinion by just quickly reading through

19    this paragraph, but I'm just reading it as if the

20    word "particular" isn't there, and it would just be          02:07:13

21    "media playback," right?

22       Q    Right.    So if you substituted the "particular

23    playback system" back to "media playback system," a

24    person of ordinary skill in the art would understand

25    Claim 3, correct?                                            02:07:29

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1        A    Well, but they didn't have "media playback

2     system" in Claim 3.      It's not like they substituted.

3     They just added the word "particular" in front of

4     "playback," right?

5             Am I reading that correctly?                         02:07:46

6        Q    Yeah.     Well, it says "a media particular

7     playback system," right, currently, as amended?

8             Do you see that?

9             How about you read the first four lines of

10    the claim before you get to the "wherein" clause.            02:08:21

11       A    Wait, I'm sorry, am I looking at the same

12    paragraph?

13       Q    Yes, it's --

14       A    This is the bottom of page 3 in the document,

15    that paragraph, right?                                       02:08:35

16       Q    Right.     So let me read -- let me read Claim 3

17    as amended.

18       A    Okay.

19       Q    It says:

20                    "The method of Claim 1 wherein               02:08:40

21            detecting the set of inputs to

22            transfer playback from the control

23            device to the particular playback

24            device comprises detecting a set of

25            inputs to transfer playback from the                 02:08:52

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1             control device to a particular zone

2             group of a media particular playback

3             system that includes a first zone and

4             a second zone."

5             Do you see that?                                     02:09:01

6        A    Yes.

7        Q    Okay.    Before that -- before that claim

8     limitation was written, right, it said "a media

9     playback system," not "a media particular playback

10    system," correct?                                            02:09:18

11       A    Correct.

12       Q    So if we changed "a media particular playback

13    system" back to "a media playback system," would a

14    person of ordinary skill in the art understand what

15    Claim 3 means?                                               02:09:35

16       A    The problem is I was assuming your question

17    meant to remove all "particulars."          But you're

18    saying just to remove the one?

19            I think I can agree that "media playback" is

20    more general than "media particular."                        02:10:30

21       Q    Right.     So you understand this claim -- you

22    understand Claim 3 if it didn't say "media

23    particular playback system" and instead it said

24    "media playback system," correct?

25       A    I would understand it better, yes.                   02:11:01

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1        Q     Do you think the applicant amended "media

2     playback system" to "media particular playback

3     system" to overcome the cited references?

4        A     I don't know how to answer that.           You'd have

5     to ask the applicant.                                               02:11:25

6        Q     Well, we talked about the Dua reference,

7     right?

8        A     Yes.

9        Q     And the Dua reference disclosed a media

10    player that can play particular media formats,                      02:11:33

11    right?

12       A     Right.

13       Q     And we talked --

14       A     But there are many ways to respond to it.           So

15    I don't know if that was the only reason, is what                   02:11:51

16    I'm trying to say.     I can't put myself in their

17    shoes.

18       Q     Right.   But you understand that Dua discloses

19    a media player that can play different kinds of

20    media formats and different types of media, right?                  02:12:08

21       A     Yes.

22       Q     So why do you think the applicant amended

23    "media playback system" to be a particular system --

24    "a media particular playback system" if Dua already

25    teaches a media player that can play different kinds                02:12:28

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1     of media formats and different types of media?

2               MR. KAPLAN:    Objection.    Asked and answered.

3               THE WITNESS:    Yeah, I don't know the strategy

4     they had in amending the claim.

5     BY MR. PAK:                                                        02:12:48

6        Q      But do you agree with me that amending "media

7     playback system" to "media particular playback

8     system" would not overcome the teachings of Dua?

9               MR. KAPLAN:    Object to form.

10              THE WITNESS:    It depends how they conceive --          02:13:07

11    or perceive the word "particular".           If they were

12    trying to make this broader than the formats that

13    Dua was listing, then maybe that was their strategy.

14    So in their mind, they're trying to say it's

15    broader.                                                           02:13:26

16              But, again, I don't -- I don't know why they

17    used the word "particular".

18    BY MR. PAK:

19       Q      What does it mean to play a particular media

20    format?                                                            02:13:43

21       A      To play a particular media format?          It means

22    the system is instructed to start playing that

23    format, that content in that format.

24       Q      So does Dua disclose a system that's

25    instructed to start playing a particular media                     02:14:17

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1     format?

2        A      He does.     And he lists examples of those

3     formats.

4        Q      What does it mean to play a particular type

5     of media?                                                     02:14:35

6        A      Isn't that the same answer -- or the same

7     question?        I'm not sure -- as opposed to the format

8     you mean?

9        Q      Yeah.     So, you know, there's -- you can play

10    a particular type of media format, right, and that            02:14:55

11    would be like an MP3 or 4 and the like, correct?

12    But you can also play a particular type of media,

13    which could be video or audio, text and the like,

14    correct?     Do you follow?

15       A      Yes.                                                02:15:13

16              MR. KAPLAN:     Object to form.

17    BY MR. PAK:

18       Q      Okay.     So in that context, does Dua disclose

19    a system that can play a particular type of media?

20       A      He discloses several types of media,                02:15:40

21    pictures, images, PowerPoint presentations, audio,

22    video.     Yes.

23       Q      So when the applicant amended "media playback

24    system" to "media particular playback system," would

25    you agree with me that amending "media playback               02:16:11

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1     system" to "media particular playback system" would

2     not overcome the teachings of Dua?

3             MR. KAPLAN:    Objection.    Asked and answered.

4             THE WITNESS:    I mean, that's a tough call.

5     That's why we have examiners, right?          I don't know     02:16:31

6     if I can make that call.

7     BY MR. PAK:

8        Q    Well, are there any other reasons why the

9     applicant would amend "media playback system" to

10    "media particular playback system"?                            02:16:53

11       A    Other than trying to respond to the examiner

12    or -- as I said, you know, that would be one reason.

13    Or they thought they had made an error and they're

14    trying to correct it.     Those are the two main

15    reasons in my head.                                            02:17:10

16       Q    Okay.   So take a look at PDF page 15 again,

17    "Summary of the Office Action".

18       A    Yes.

19       Q    In the "Summary of the Office Action," it

20    talks about 103 rejections, correct?                           02:17:34

21       A    Yes.

22       Q    Do you see any other rejections?

23       A    I'm sorry, can you remind me what the 103

24    rejection is?

25       Q    Yeah.   So 103 rejection is an obviousness             02:17:48

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1     type rejection.

2              There's also 102 type rejections, which could

3     be anticipation -- anticipatory type rejections,

4     right?

5              And then you also have 112 rejections, which                    02:18:02

6     might have to do with, you know, formality of the

7     claims or, you know, maybe the patent lacks written

8     description of enablement and the like.                  Or it might

9     be indefinite, right?

10       A     Right.     Okay.                                                02:18:18

11       Q     All right.     So with that understanding here,

12    do you see in the Summary of the Office Action there

13    are only 103 rejections, right?

14       A     Right.

15       Q     And you don't see any 112 rejections,                           02:18:28

16    correct?

17       A     Correct.

18       Q     So the -- so the applicant here was

19    responding to the examiner's 103 rejections in the

20    non-final office action of July 25, 2016, correct?                       02:18:44

21             MR. KAPLAN:        Object to form.

22             THE WITNESS:        Yes.   I presume that's what --

23    the response that was written by the applicant,

24    right?

25    BY MR. PAK:                                                              02:18:56

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1        Q    Right.

2        A    Paragraph 3?

3        Q    Yeah.    And looking at Claim 3, you're not

4     entirely sure why the applicant amended "media

5     playback system" to "media particular playback               02:19:12

6     system," correct?

7        A    I'm not sure, no.

8        Q    But you do understand that Dua discloses a

9     media particular playback system, correct?

10       A    Correct.     But I guess the question is, is         02:19:29

11    that the only way to respond to that rejection?

12    Without being the applicant and knowing more, I

13    couldn't answer that.

14            But it was a response presumably to address

15    the concern.     That doesn't make it the correct            02:19:42

16    response.   It's a response.

17       Q    Right.     And the only other reason why an

18    applicant would amend its claims, other than

19    responding to an examiner, would be to correct an

20    informality, such as a typographical error, correct?         02:19:59

21            MR. KAPLAN:     Object to form.

22    Mischaracterizes.      Leading.

23            Go ahead.

24            THE WITNESS:     Those are two reasons I have

25    off the top of my head.      I mean, there could be          02:20:12

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1     other reasons that I'm not -- I don't think those

2     are the only two reasons to list.

3     BY MR. PAK:

4        Q     Sitting here today, can you think of any

5     other reasons why an applicant would amend its                02:20:24

6     claims other than those two reasons?

7        A     I don't know.   The marketing department

8     decided that it would be important to have certain

9     words in the patent?

10             I'm thinking -- I'm trying to think of other         02:20:41

11    reasons.    There could be a lot of other reasons.     It

12    depends.    They become a public record, obviously, so

13    that could be another reason.

14       Q     Why do you think the applicant would amend

15    "media playback system" to "media particular                  02:20:59

16    playback system" if amending "media playback system"

17    to "media particular playback system" would render

18    the claim indefinite, in your opinion?

19       A     Well, I don't think they asked me my opinion,

20    so how would they know that this would become an              02:21:22

21    issue?

22             At the time, I'm sure it made sense to them

23    for some reason that we don't know, that I don't

24    know.

25       Q     That's fair.                                         02:21:31

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1             Now, I want to go back to the '206 patent

2     now.   It's Exhibit 10.     And I want to take a look at

3     column 8.

4        A    Okay.

5        Q    Okay.     And you don't have to read this out        02:22:11

6     loud, but could you please review lines 7

7     through 36.

8        A    7 through 36?

9        Q    Yeah.     And then we can discuss.

10            And just let us know when you're finished.           02:22:35

11       A    Okay.

12       Q    Okay.     Does the '206 patent disclose two

13    mechanisms for grouping zone players?

14            MR. KAPLAN:     Object to the form.

15            THE WITNESS:     I'm trying to see where it          02:23:34

16    says another mechanism.      I see what it says, but it

17    starts -- the line starts with "One mechanism for

18    joining zone players."

19    BY MR. PAK:

20       Q    Sure.     And what is that one mechanism?            02:23:46

21       A    It says:

22                    "To link a number of zone players

23            together to form a group."

24       Q    And what does the '206 patent say that one

25    mechanism entails to link a number of zone players           02:24:07

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1     together to form a group?

2        A    So they -- one second.

3                     "The user may manually link each

4             zone player or room one after the

5             other," sequentially presumably.                     02:24:24

6        Q    So that's the -- that's the one mechanism

7     disclosed in the '206 patent, right?

8        A    Yeah.

9             MR. KAPLAN:     Object to form.

10    BY MR. PAK:                                                  02:24:37

11       Q    Is there another mechanism for linking a

12    number of zone players together to form a group?

13       A    I guess you must be referring to line 23

14    perhaps:

15                    "According to one embodiment, a              02:24:57

16            set of zones can be dynamically linked

17            together using one command."

18            Is that the other mechanism that you're

19    referring to?

20       Q    Yes.                                                 02:25:16

21       A    Okay.

22       Q    So the '206 patent discloses example zones,

23    correct?

24       A    Right.     They have a list of what they call

25    zones and then some names, yeah.                             02:25:30

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1        Q    What are the example zones disclosed in

2     column 8?

3        A    Bathroom, bedroom, den, dining room, family

4     room and foyer.

5        Q    Okay.     And looking at column 8, line 29,          02:25:45

6     could you please read that -- read the first three

7     sentences.

8        A    Okay.

9                     "For instance, a Morning zone

10            scene/configuration command would link               02:26:09

11            the bedroom, den and dining room

12            together in one action.       Without this

13            single command, the user would need to

14            manually and individually link each

15            zone.     Figure 3A provides an                      02:26:21

16            illustration of one zone scene where

17            the left column shows the starting

18            zone grouping.     All zones are

19            separate.     The column on the right

20            shows the effects of grouping the                    02:26:35

21            zones to make a group of three zones

22            named after Morning."

23       Q    Okay.     So I want to take a look at Figure 3A

24    now.   It's on PDF page 8.

25       A    Yes.                                                 02:27:06

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1        Q     So on the left side of the arrow, you know, I

2     see bathroom, bedroom, den, dining room, family room

3     and foyer, right?

4        A     Yes.

5        Q     What do -- what does the left side of the           02:27:17

6     arrow represent, or those rooms represent?

7        A     Based on what we just read, they call them

8     zones.

9        Q     And the right side of the arrow -- well, what

10    does -- what does the right side of the arrow                02:27:42

11    indicate in Figure 3A?

12             MR. KAPLAN:    Object to form.

13             THE WITNESS:    It's the same -- the same

14    zones, but the -- but three of them have been put in

15    a -- some kind of group.      And that group is -- has       02:27:54

16    the bracket that indicates that it's called Zone

17    Configuration/Scene.

18    BY MR. PAK:

19       Q     What are -- what are the three zones that are

20    put into some kind of group?                                 02:28:22

21       A     Bedroom, den and dining room.

22       Q     Do you know what the name of that -- what the

23    patent describes as -- let me start over.

24             What does the patent call this group that

25    includes the three zones, bedroom, den and dining            02:28:49

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1     room?

2        A    Sorry, what was that column?         Was it

3     column 8?

4        Q    Yes, column 8.

5        A    And it says "to make a group of three zones             02:29:03

6     named after Morning."      A little odd that the word

7     "after" is there, but okay.

8        Q    Yeah, go -- look at the sentence before.        You

9     know, it says:

10                 "Figure 3A provides an                             02:29:32

11            illustration of one zone scene where

12            the left column shows the starting

13            zone grouping.     All zones are

14            separate.     The column to the right

15            shows the effect of grouping the zones                  02:29:45

16            to make a group of three zones named

17            after Morning."

18            Right?

19       A    Right.

20       Q    So looking at Figure 3A, the group of zones,            02:29:52

21    bedroom, den and dining room, that's an illustration

22    of a zone scene, correct?

23            MR. KAPLAN:     Object to form.

24            THE WITNESS:     So I didn't provide an opinion

25    on what a zone scene is.      To define that here kind          02:30:26

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1     of on the fly would be a little premature, or I'd

2     have to look at it more.

3             You know, reading through for the -- for the

4     other opinions that I formed, I found that zone

5     scene represents some kind of grouping, but it has           02:30:43

6     something additional, some kind of theme or

7     attributes that go beyond a simple grouping.

8             But, again, that's not a -- that's not an

9     official opinion yet.

10    BY MR. PAK:                                                  02:30:59

11       Q    Okay.     So, you know, looking at column 8, you

12    know, where we were before, and it says:

13                    "For instance, a Morning zone

14            scene/configuration command would link

15            the bedroom, den and dining room                     02:31:14

16            together in one action."

17            Do you see that?

18       A    Yes.

19       Q    And then, you know, as we discussed, it says:

20                    "The column to the right shows               02:31:24

21            the effects of grouping the zones to

22            make a group of three zones named

23            after Morning."

24            Do you see that?

25       A    I see.                                               02:31:32

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1        Q      So with respect to Figure 3A, you know, the

2     group of three zones named after Morning, that's

3     referring to the Morning zone scene, correct?

4               MR. KAPLAN:     Object to form.      Asked and

5     answered.                                                            02:31:52

6               THE WITNESS:     Well, but it has -- in line 29

7     it says "Morning zone scene/configuration," and then

8     in Figure 3A it says "zone configuration/scene," the

9     other way around.

10              So I couldn't tell from this for sure without              02:32:13

11    looking further if that is the definition of zone

12    scene or not.        It has additional stuff.

13    BY MR. PAK:

14       Q      Right.     But your understanding of a zone

15    scene is that it's some kind of representation of a                  02:32:28

16    grouping that has some additional attributes, right?

17       A      Yes, that's my best understanding.           The

18    attributes having to do with what throughout the

19    specification is called some kind of themes.

20       Q      Why don't we take a look at column 10 of the               02:32:49

21    patent.

22       A      Okay.

23       Q      And I want to look at line 21 here.           It says:

24                      "Given a saved scene, a user may

25              activate the scene at any time or set                      02:33:21

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1             up a timer to activate the scene at

2             610."

3             Do you see that?

4        A    I see it.

5        Q    After the user activates the scene, what does        02:33:29

6     the '206 patent say happens next?

7        A    So they say "scene" here, which is not clear

8     if they mean zone scene in their own language.

9     That's my first thought.

10            But what --     you're saying what do they say       02:33:59

11    in this sentence?

12       Q    Yeah, so let's back up here.

13            And, you know, this is talking about with

14    respect to Figure 6, but at the -- you know, the

15    first paragraph of column 10, says:                          02:34:14

16                    "The process 600 is initiated

17            only when a user decides to proceed

18            with a zone scene at 602."

19            Do you see that?

20       A    Yes.                                                 02:34:26

21       Q    So when it talks about a scene at step 610,

22    it's talking about a zone scene, correct?

23            MR. KAPLAN:     Object to form.

24            THE WITNESS:     Probably, but why don't they

25    just write it to make it clear?         It's not -- most     02:34:50

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1     likely is my answer.

2     BY MR. PAK:

3        Q      Okay.     So at 610, you know, I read this

4     before.     It says:

5                       "Given a saved scene, a user may           02:35:11

6               activate the scene at any time or set

7               up a timer to activate the scene at

8               610."

9               So what does the '206 patent say happens

10    next?                                                        02:35:25

11       A      After this action has happened?

12       Q      Yes.

13       A      It's the next couple of sentences, right?

14       Q      So what does that say?

15       A      So line 24:                                        02:35:44

16                      "At 612, upon the activation of a

17              saved scene, the process 600 checks

18              the status of the players associated

19              with the scene."

20       Q      Okay.     So what does -- what does the patent     02:35:56

21    say happens at step 614?

22       A

23                      "At 614, commands are executed

24              with the parameters, e.g., pertaining

25              to a playlist and volumes."                        02:36:11

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1        Q    And what is the next --

2        A    Yeah, go ahead?

3        Q    Can you keep reading the next two sentences.

4        A    Yes.

5                     "In one embodiment, data,                    02:36:23

6             including the parameters, is

7             transported from a member, e.g., a

8             controller, to other members in the

9             scene so that the players are caused

10            to synchronize an operation configured               02:36:34

11            in the scene.     The operation may cause

12            all players to play back a song in

13            identical or different volumes or to

14            play back a pre-stored file."

15       Q    So after a user activates a zone scene, data         02:36:51

16    is transported from a member to another member in

17    the zone scene, right?

18            MR. KAPLAN:     Object to form.

19            THE WITNESS:     So what is a member here?

20    BY MR. PAK:

21       Q    So a member here -- you know, you just read

22    it here.   It says "transferred from a member, for

23    example, a controller."

24            A member can also be a player, right?

25       A    Okay.                                                02:37:24

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1        Q     I think -- I think member -- so member here

2     is referring to devices or nodes on the network,

3     right?

4        A     Okay.

5        Q     So you agree with me that after a user                 02:37:36

6     activates a zone scene, data is transported from a

7     member, for example, a controller or a player, to

8     other members in the zone scene, right?

9        A     Yes.

10       Q     And what does that data that is transported            02:37:57

11    from a member to another member pertain to?

12       A     Well, in the example they provide, it says it

13    pertains to a playlist and volumes.           So we have to

14    read it the way they say it, right?

15       Q     Yeah.     So let's take a look at column 10,           02:38:23

16    lines 12 through 20.       It starts with "In the example

17    of Figure 1."

18             Do you see that?

19       A     Yes.

20       Q     Could you please read the first two                    02:38:35

21    sentences.

22       A

23                     "In the example of Figure 1, the

24             scene is saved in one of the zone

25             players and displayed on controller                    02:38:43

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1             142.     In operation, a set of data

2             pertaining to the scene includes a

3             plurality of parameters.        In one

4             embodiment, the parameters include,

5             but may not be limited to,                           02:38:56

6             identifiers, e.g., IP address, of the

7             associated players and a playlist.

8             The parameter may also include

9             volume/tone settings for the

10            associated players in the scene."                    02:39:08

11       Q    Okay.     So returning to my question, after a

12    user activated a zone scene, there is some data that

13    is transported from a member to another member in

14    the scene, right?

15            MR. KAPLAN:     Object to form.                      02:39:27

16            THE WITNESS:     That's what this paragraph

17    seems to describe, yes.

18    BY MR. PAK:

19       Q    Right.     And that data that's transported from

20    a member to another member is data pertaining to a           02:39:36

21    zone scene, correct?

22            MR. KAPLAN:     Object to form.

23            THE WITNESS:     Well, it's data -- it's a set

24    of parameters that they want to apply to that zone

25    scene they're sending.                                       02:39:58

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1     BY MR. PAK:

2        Q    Right.     So let me ask you this way.

3             So when a scene is saved in one of the zone

4     players and displayed on a controller, right, there

5     is some form of data pertaining to that zone scene               02:40:12

6     that gets saved in the zone player, right?

7             MR. KAPLAN:     Object to form.

8             THE WITNESS:     This is not the data that we're

9     talking about here that's being sent to it.          I'm not

10    sure I understand.                                               02:40:37

11            There's a scene that's been created.         And

12    this to me says that from -- the user can decide

13    from the controller to select that scene -- and I'm

14    paraphrasing -- and send these parameters that we

15    talked about to the zone players in that scene.                  02:40:53

16    BY MR. PAK:

17       Q    Okay.     So let's look -- let's relook at

18    column 10, lines 12 to 15.       It says:

19                    "In the example of Figure 1, the

20            scene is saved in one of the zone                        02:41:08

21            players and displayed on controller

22            142.     In operation, a set of data

23            pertaining to the scene includes a

24            plurality of parameters."

25            Do you see that?                                         02:41:18

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1        A      Yes.

2        Q      Now, when you save a zone scene in one of the

3     zone players, you're really saving data pertaining

4     to the zone scene in one of the zone players,

5     correct?                                                      02:41:29

6               MR. KAPLAN:    Object to form.

7               THE WITNESS:    I don't know.      I don't know

8     what they're saving.

9     BY MR. PAK:

10       Q      Well, the zone player has to save some form         02:41:44

11    of data that represents the zone scene, right, if

12    it's going to save a zone scene?

13              MR. KAPLAN:    Object to form.

14              THE WITNESS:    I guess what I'm trying to

15    figure out there is, isn't the zone scene the data            02:42:07

16    itself?

17    BY MR. PAK:

18       Q      Well, let me ask -- let me ask you this way.

19              When you want to save a song on your

20    computer, some form of data is saved on that                  02:42:27

21    computer, right, that represents the song?

22       A      Well, it's the audio file that is the song.

23       Q      Right.   So when you -- when you save a song

24    on a computer, you're saving a -- you're saving a

25    file that represents a song and -- let me just                02:42:49

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1     repeat that.

2             So when you save a song on a computing

3     device, you're saving a file that represents a song

4     in the computing device, correct?

5        A    No, I don't agree with that.                         02:43:17

6             What is a song?     That's an abstract -- the

7     song is the file.      So it's not a representation.

8     It's the song.    That is the file that you're saving.

9        Q    So when someone says -- so when a user

10    decides to save a song, what happens under the hood,         02:43:40

11    like, how does the computing device save a song?

12       A    The song --

13            MR. KAPLAN:     Object to the form.

14            THE WITNESS:     Assuming the song is in digital

15    form, the computing device saves the song file which         02:44:02

16    contains a sequence of bits that, when played back,

17    are the song.

18    BY MR. PAK:

19       Q    Yeah, so let me ask you it this way then.

20            When a user tries to save a song from a              02:44:27

21    computer from an Ethernet interface, right, if --

22    the user inputs a command to save the song, right?

23       A    Yes.

24       Q    And the computing device receives that

25    command to save a song, correct?                             02:44:57

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1        A    Yes.

2        Q    How does the computing device or, you know --

3     starting over here.

4             What action does the computing device do to

5     actually save a song in the computing device?                     02:45:14

6             MR. KAPLAN:    Object to form.

7             THE WITNESS:    Assuming the saving location

8     has -- the saving location has been determined,

9     which is the intermediate step, the computing device

10    will start at the first bit and start writing it to               02:45:31

11    that location until it's finished.         In memory or on

12    the hard drive somewhere.

13    BY MR. PAK:

14       Q    So the computing device saves a song in the

15    hard drive or memory, you know, in the form of a                  02:45:57

16    file, right?

17       A    I don't know -- the song is a file.            It

18    sounds like you're saying the song is something else

19    and then it gets converted to a file, and that's

20    just not the case.                                                02:46:17

21            The song is the file.     Without that, there's

22    no song.

23       Q    Well, let me ask you this way.

24            From a user perspective, right, a user would

25    say that he or she plays a song, right?             He or she     02:46:59

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1     wouldn't say that he or she plays a file, right, or

2     plays data?

3        A      Well, that's the vernacular as opposed to the

4     actual technical.      I could point you to a number of

5     users in my department that would say they're                02:47:27

6     playing a data file.

7               So, I mean, I don't think that's -- I mean,

8     maybe a user would say that, but it doesn't make it

9     technically correct.

10       Q      All right.   Let's talk about this in the          02:47:49

11    context of Microsoft Word then.

12              When you save a Microsoft Word document,

13    right, what format does your computing device save a

14    Microsoft Word document?

15       A      It is again a sequence of bits that -- the         02:48:13

16    format is not open to us.      It's a Microsoft internal

17    format.     So I couldn't tell you what the file looks

18    like.     You can only reopen it by using their user

19    interface.

20       Q      When you save a Microsoft Word document,           02:48:39

21    you're saving some form of data, right?

22       A      I mean, that's -- everything on your computer

23    is data, so yes.

24       Q      And that data that is saved represents the

25    Microsoft Word document, right?                              02:49:12

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1        A    I think it's the same thing.         As I said

2     before, it doesn't represent it, it is the Microsoft

3     Word document.      It's not like you have another

4     representation.      It's the -- it's the only one, and

5     it is the document.                                               02:49:30

6             MR. PAK:     Why don't we take a break now.       I

7     think we've been going on for a while.           I don't have

8     a whole lot left here.      I know it's Friday.       I don't

9     want to keep you here too long.

10            THE VIDEOGRAPHER:     Off the record at                   02:50:06

11    2:50 p.m.

12            (Recess.)

13            THE VIDEOGRAPHER:     We are on record at

14    3:02 p.m.

15    BY MR. PAK:                                                       03:02:27

16       Q    I want to take a look at paragraph 74 of your

17    declaration.

18       A    Yes.

19       Q    Would you please read the first sentence.

20       A                                                              03:02:48

21                   "Claims 1 and 12 of the '033

22            patent recite transmitting an

23            instruction, and Claims 2 and 3 recite

24            wherein the instruction comprises an

25            instruction."                                             03:02:56

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1        Q      Okay.    And during the break I uploaded the

2     '033 patent and marked it as Exhibit 14.

3               (Exhibit 14 was marked for identification

4        electronically and is attached hereto.)

5     BY MR. PAK:                                                  03:03:09

6        Q      Do you see that?

7        A      Just checking here.

8               Yes.

9        Q      And you looked at the '033 patent, correct?

10       A      Yes, I did.                                        03:03:26

11       Q      I want to take a look at Claim 1 on PDF

12    page 28.

13              Could you please read the transmitting an

14    instruction limitation that you mentioned in

15    paragraph 74 of your declaration.                            03:03:50

16       A      I'm still scrolling.

17       Q      It's the second to the last page.

18       A      Yes.    You want me to read the part that has

19    the transmitting the instruction?

20       Q      Yeah.    How about -- how about you read the       03:04:13

21    transmitting an instruction limitation, you know,

22    all the way -- all the way before the "wherein"

23    clause.

24       A      Okay.    So line 53?

25       Q      Yeah, correct.

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1        A

2                     "Based on receiving the user

3             input, transmitting an instruction for

4             at least one given playback device to

5             take over responsibility for playback                03:04:35

6             of the remote playback queue from the

7             computing device."

8        Q    Okay.     Let's take a look at Claim 2,

9     column 18.      Could you please read Claim 2.

10       A                                                         03:04:47

11                    "The computing device of Claim 1

12            wherein the instruction comprises an

13            instruction for the cloud-based

14            computing system associated with the

15            media" --                                            03:04:58

16                       Sorry.   Let me start over.

17            "The computing device of Claim 1,

18            wherein the instruction comprises an

19            instruction for the cloud-based

20            computing system associated with the                 03:05:10

21            media service to provide the data

22            identifying the next one or more" --

23            "the next one or more media items to

24            the given playback device for use in

25            retrieving at least one media item                   03:05:22

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1             from the cloud-based computing system

2             associated with the cloud-based media

3             service."

4        Q    That's a pretty long claim, right?

5             So the instruction recited in Claim 2 is             03:05:38

6     referring to the instruction for at least one given

7     playback device to take over responsibility for

8     playback of the remote playback queue from the

9     computing device recited in Claim 1, correct?

10       A    Yes.                                                 03:06:14

11       Q    In other words, the instruction recited in

12    Claim 2 is not referring to the program instructions

13    stored on the non-transitory computer readable media

14    as recited in Claim 1, correct?

15            MR. KAPLAN:    Object to form.                       03:06:43

16            THE WITNESS:    I guess it's not clear what is

17    the difference between the program instructions.

18    Aren't they all instructions?       I'm trying to

19    understand the reference here.

20    BY MR. PAK:                                                  03:07:12

21       Q    Does the instruction recited in Claim 2 refer

22    to an instruction for the at least one given

23    playback device to take responsibility for playback

24    on the remote playback queue from the computing

25    device in Claim 1, or does it refer to the program           03:07:35

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1     instructions recited in Claim 1?

2        A      Well, that's the thing.      They're all program

3     instructions, right?       So this instruction,

4     whichever -- whatever it's referring to, is a

5     program instruction, right?        So I don't see the          03:07:56

6     difference necessarily.

7        Q      Well, Claim 1 recites an instruction for

8     the at least one given playback device to take over

9     responsibility for playback of the remote playback

10    queue from the computing device, right?                        03:08:16

11       A      Right.    But at the beginning of Claim 2 is

12    program instructions, when executed by at least one

13    processor, cause the computing device to perform

14    functions comprising -- and then a whole bunch of

15    functions -- and then this instruction clause.          So     03:08:35

16    it's --

17       Q      Well, let's look at paragraph 74 again in

18    your declaration.

19       A      Yes.

20       Q      And you say that "Claim 1" -- I'm sorry:             03:08:49

21                     "Claims 1 and 12 of the '033

22              patent recite transmitting an

23              instruction, and Claims 2 and 13

24              recite wherein the instruction

25              comprises an instruction."                           03:09:04

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1               So in that sentence, you understand that

2     wherein -- the term "wherein the instruction"

3     recited in Claim 2 refers to transmitting an

4     instruction term in Claim 1, right?

5        A      Yes.     I agree with that.                             03:09:31

6        Q      Okay.     So the instruction recited in Claim 2

7     is not referring to program instructions recited in

8     Claim 1, correct?

9               MR. KAPLAN:     Object to form.

10              THE WITNESS:     I guess that's what I was              03:09:45

11    trying to say before.          It's referring to the -- to

12    the instruction that we read in that clause of the

13    claim.     But it's still a program instruction.

14    That's all I was trying to say.

15              MR. PAK:     Okay.    I have no further questions.      03:10:02

16    I appreciate your time, Dr. K.

17              Thanks for your time as well, Marc.

18              MR. KAPLAN:     Sure.     I'm just thinking for a

19    moment.

20              We'll reserve signature.           And no questions     03:10:18

21    for me.

22              THE VIDEOGRAPHER:        We are off the record at

23    3:10 p.m.        This concludes today's testimony given by

24    Dr. Chris Kyriakakis.          Total media used was five and

25    will be retained by Veritext Legal Solutions.                     03:10:38

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1
2                 I, CHRISTOS KYRIAKAKIS, do hereby declare
3     under penalty of perjury that I have read the
4     foregoing transcript; that I have made any
5     corrections as appear noted, in ink, initialed by
6     me, or attached hereto; that my testimony as
7     contained herein, as corrected, is true and correct.
8                 EXECUTED this _____ day of _______________,
9     20____, at ______________________, ________________.
                                 (City)                       (State)
10
11
12
13                       ____________________________________
                                    CHRISTOS KYRIAKAKIS
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1
2
3              I, the undersigned, a Certified Shorthand
4     Reporter of the State of California, do hereby
5     certify:
6                 That the foregoing proceedings were taken
7     before me at the time and place herein set forth;
8     that any witnesses in the foregoing proceedings,
9     prior to testifying, were placed under oath; that a
10    record of the proceedings was made by me using
11    machine shorthand which was thereafter transcribed
12    under my direction; further, that the foregoing is
13    an accurate transcription thereof.
14                I further certify that I am neither
15    financially interested in the action nor a relative
16    or employee of any attorney of any of the parties.
17                IN WITNESS WHEREOF, I have this date
18    subscribed my name.
19
20    Dated: June 14, 2021
21
22
23                                  <%5979,Signature%>
                                    KATHLEEN E. BARNEY
24                                  CSR No. 5698
25

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